USCA Case #21-1244     Document #1981187        Filed: 01/12/2023   Page 1 of 84

   ORAL ARGUMENT SCHEDULED FOR FEBRUARY 17, 2023

                           No. 21-1244
           (Consolidated with Nos. 21-1243 and 21-1245)


                                   IN THE
                     United States Court of Appeals
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


                          SOUNDEXCHANGE, INC.,
                                Petitioner,
                                      v.
                       COPYRIGHT ROYALTY JUDGES,
                                 Respondents,
                NATIONAL RELIGIOUS BROADCASTERS
          NONCOMMERICAL MUSIC LICENSE COMMITTEE, ET AL.,
                             Intervenors.


                          On Appeal from an Order of
                         The Copyright Royalty Board
______________________________________________________________________________

             FINAL OPENING BRIEF OF PETITIONER
                    SOUNDEXCHANGE, INC.
______________________________________________________________________________

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USCA Case #21-1244      Document #1981187      Filed: 01/12/2023   Page 2 of 84



    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                         CASES

     Pursuant to D.C. Circuit Rule 28(a)(1), Petitioner SoundExchange,

Inc. (“SoundExchange”) certifies as follows:

     A.      Parties and Amici. The following parties participated in the

proceeding     before     the   Copyright   Royalty       Board     (“CRB”):†

SoundExchange; Pandora Media, LLC; Sirius XM Radio, Inc.; National

Religious Broadcasters Noncommercial Music License Committee

(“NRBNMLC”); National Association of Broadcasters (“NAB”); and

Google Inc.




†
  SoundExchange filed jointly on behalf of itself and participants The
American Federation of Musicians of the United States and Canada;
Screen Actors Guild/American Federation of Television and Radio
Artists; The American Association of Independent Music; Sony Music
Entertainment; UMG Recordings, Inc.; Warner Music Group Corp.; and
Jagjaguwar Inc. Additionally, AccuRadio LLC; Live365 Broadcaster
LLC; LA RAZA MEDIA GROUP LLC; Radio Coalition LLC; Feed Media,
Inc.; Dash Radio, Inc.; TuneIn Inc.; Radio Paradise Inc.; iHeartMedia,
Inc.; and ICON Health & Fitness Inc. filed petitions to participate in the
proceeding, but withdrew from the proceeding before commencement of
the hearing. College Broadcasters Inc. and National Public Radio filed
petitions to participate in the proceeding, but then reached a settlement
with SoundExchange and thus withdrew from the proceeding. David
Powell filed a petition to participate in the proceeding but was dismissed
from the proceeding. And Educational Media Foundation filed a petition
to participate in the proceeding, but then joined the case of NRBNMLC
and thus withdrew from the proceeding.

                                      i
USCA Case #21-1244     Document #1981187         Filed: 01/12/2023   Page 3 of 84



        No amicus appeared before the CRB in the proceedings below.

        The parties before this Court are: SoundExchange; the Copyright

Royalty Board; and the Librarian of Congress.

        In addition, NRBNMLC is participating as an Intervenor in this

case.

        There are no known amici in this case.

        B.   Rulings Under Review. The ruling under review is the

Determination of Rates and Terms for Digital Performance of Sound

Recordings and Making of Ephemeral Copies to Facilitate Those

Performances (Web V), 86 Fed. Reg. 59,452 (Oct. 27, 2021) (codified at 37

C.F.R. Part 380). Because the ruling as published in the Federal Register

redacts certain confidential and competitively sensitive information

provided by the parties to the Copyright Royalty Judges constituting the

Copyright Royalty Board (“CRB”), and because it is necessary for this

Court to consider that information in deciding certain issues in this

appeal, this brief cites the unredacted version of the ruling issued by the

CRB. J.A.1113 - 1423. A redacted public version of that ruling, paginated

in the same manner as the unredacted version, was released by the CRB.

J.A. 66 - 207.



                                     ii
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 4 of 84



     C.    Related Cases. This case has not previously come before this

Court, or any other court. SoundExchange is unaware of any other

related cases besides the other petitions from the Determination, which

the Court has consolidated with this case.

     D.    Deferred Appendix. A deferred appendix was used,

pursuant to this Court’s Order of April 28, 2022.



January 12, 2023                             /s/ Matthew S. Hellman
                                             Matthew S. Hellman




                                   iii
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 5 of 84



             CORPORATE DISCLOSURE STATEMENT

     Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

and D.C. Circuit Rules 26.1 and 28(a)(1), SoundExchange submits the

following corporate disclosure statement:

     SoundExchange is a non-profit collective management organization

representing the owners of sound recording copyrights and the artists

who created those recordings. SoundExchange collects royalties paid

pursuant to statutory licenses under Sections 112 and 114 of the

Copyright Act, 17 U.S.C. §§ 112, 114, which allow the public performance

of sound recordings by means of certain digital audio transmissions,

along with related reproductions. SoundExchange distributes these

royalties to the artists who created the sound recordings and the

copyright owners of the sound recordings. SoundExchange has not issued

any shares or debt securities to the public, and SoundExchange has no

parent companies. SoundExchange has no subsidiaries or affiliates that

have issued any shares or debt securities to the public. No publicly-held

company has any ownership interest in SoundExchange. Because

SoundExchange is a trade association as defined in D.C. Circuit Rule

26.l(b), it is not required to disclose the names of its members.



                                    iv
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 6 of 84



     Because SoundExchange distributes statutory royalties to the

artists who created the sound recordings and the owners of the copyrights

in the sound recordings, those artists and owners may have an interest

in the royalty rates at issue in this appeal. Certain publicly-traded

companies receive, directly or indirectly through a subsidiary, royalties

distributed by SoundExchange.




                                   v
USCA Case #21-1244             Document #1981187                   Filed: 01/12/2023          Page 7 of 84



                                  TABLE OF CONTENTS

CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
    CASES ............................................................................................... i

CORPORATE DISCLOSURE STATEMENT .......................................... iv

TABLE OF AUTHORITIES ................................................................... viii

GLOSSARY .............................................................................................. xi

JURISDICTIONAL STATEMENT ........................................................... 1

STATEMENT OF ISSUES........................................................................ 1

STATUTES AND REGULATIONS .......................................................... 2

STATEMENT OF THE CASE .................................................................. 2

        A.      Statutory and Regulatory Background .................................. 6

                1.      Statutory Licenses ......................................................... 7

                2.      Copyright Royalty Board ............................................... 8

                3.      Willing Buyer/Willing Seller Standard ....................... 10

                4.      Benchmarking .............................................................. 11

                5.      Opportunity Cost “Floor” ............................................. 12

        B.      Determination Below ............................................................ 15

                1.      Evidence of Opportunity Cost ...................................... 15

                2.      The CRB Adopted a Misreading of Professor
                        Shapiro’s Opportunity Cost Testimony and Did
                        Not Consider Professor Willig’s Uncontroverted
                        Corrections ................................................................... 21

                3.      The CRB Adopted a Rate Below Opportunity
                        Cost ............................................................................... 24



                                                     vi
USCA Case #21-1244            Document #1981187                 Filed: 01/12/2023         Page 8 of 84



SUMMARY OF ARGUMENT ................................................................. 26

STANDING ............................................................................................. 28

ARGUMENT ........................................................................................... 29

I.      The CRB’s Decision to Set the Statutory Royalty Rate for
        Ad-Supported Noninteractive Services Below Opportunity
        Cost Was Contrary to Law and Arbitrary and Capricious............ 29

        A.      Agencies Must Comply with the Law and Give
                Reasons for Their Decisions .................................................. 30

        B.      The CRB Acted Unlawfully by Setting a Rate Below
                Opportunity Cost................................................................... 32

II.     It Was Legal Error for the CRB to Ignore Record Evidence
        That Opportunity Cost Was Higher Than It Found ..................... 37

CONCLUSION ........................................................................................ 41

CERTIFICATE OF COMPLIANCE ........................................................ 43

CERTIFICATE OF SERVICE................................................................. 44




                                                  vii
USCA Case #21-1244             Document #1981187                  Filed: 01/12/2023         Page 9 of 84



                               TABLE OF AUTHORITIES*

CASES

City of Clarksville v. FERC, 888 F.3d 477 (D.C. Cir. 2018) ................... 31

El Rio Santa Cruz Neighborhood Health Center, Inc. v. United
   States Department of Health & Human Services, 396 F.3d 1265
   (D.C. Cir. 2005) ................................................................................... 41

FCC v. Fox Television Stations, Inc., 556 U.S. 502 (2009) ..................... 36

Growth Energy v. EPA, 5 F.4th 1 (D.C. Cir. 2021) ................................. 31

*Intercollegiate Broadcast System, Inc. v. Copyright Royalty
   Board, 574 F.3d 748 (D.C. Cir. 2009) ..................................... 11, 32, 33

*Intercollegiate Broadcasting System, Inc. v. Copyright Royalty
   Board, 796 F.3d 111 (D.C. Cir. 2015) ..................................... 10, 34, 35

Morall v. DEA, 412 F.3d 165 (D.C. Cir. 2005) ................................... 40-41

*Motor Vehicle Manufacturers Ass’n of United States, Inc. v. State
  Farm Mutual Automobile Insurance Co., 463 U.S. 29
  (1983)....................................................................................... 30, 31, 36

Music Choice v. Copyright Royalty Board, 774 F.3d 1000 (D.C.
  Cir. 2014)............................................................................................. 32

National Lifeline Ass’n v. FCC, 921 F.3d 1102 (D.C. Cir. 2019) ...... 31, 36

Physicians for Social Responsibility v. Wheeler, 956 F.3d 634
  (D.C. Cir. 2020) ................................................................................... 36

Public Citizen, Inc. v. FAA, 988 F.2d 186 (D.C. Cir. 1993) .................... 31

Robinson v. National Transportation Safety Board, 28 F.3d 210
  (D.C. Cir. 1994) ................................................................................... 41



*   Authorities upon which we chiefly rely are marked with an asterisk.

                                                   viii
USCA Case #21-1244            Document #1981187                  Filed: 01/12/2023         Page 10 of 84



Sierra Club v. EPA, 292 F.3d 895 (D.C. Cir. 2002) ................................ 29

SoundExchange, Inc. v. Copyright Royalty Board, 904 F.3d 41
  (D.C. Cir. 2018) ................................................................................... 35

STATUTES

5 U.S.C. § 706 .................................................................................... 30, 37

17 U.S.C. § 106 .......................................................................................... 7

17 U.S.C. § 106(1) ...................................................................................... 7

17 U.S.C. § 106(6) ...................................................................................... 7

17 U.S.C. § 112(e) ...................................................................................... 7

17 U.S.C. § 112(e)(3) .................................................................................. 1

17 U.S.C. § 114(d)(2) ............................................................................. 2, 7

17 U.S.C. § 114(d)(2)(A)(i) ......................................................................... 8

17 U.S.C. § 114(f)....................................................................................... 7

17 U.S.C. § 114(f)(1) .................................................................................. 1

17 U.S.C. § 114(f)(1)(B) ....................................................................... 3, 34

17 U.S.C. § 114(f)(1)(B)(i) ........................................................................ 11

17 U.S.C. § 114(f)(1)(B)(i)(I) .................................................................... 11

17 U.S.C. § 114(f)(1)(B)(i)(II) ................................................................... 11

17 U.S.C. § 114(j)(6) .................................................................................. 8

17 U.S.C. § 114(j)(7) .................................................................................. 8

17 U.S.C. § 114(j)(8) .................................................................................. 8

17 U.S.C. § 801 .......................................................................................... 8

17 U.S.C. § 801(b)(1).................................................................................. 1


                                                    ix
USCA Case #21-1244            Document #1981187                 Filed: 01/12/2023         Page 11 of 84



17 U.S.C. § 803(a)(1).......................................................................... 10, 32

17 U.S.C. § 803(d)(1) ................................................................................. 1

17 U.S.C. § 804(b)(3)(A)............................................................................. 8

OTHER AUTHORITIES

37 C.F.R. § 380.7 ..................................................................................... 15

Determination of Rates and Terms for Digital Performance of
  Sound Recordings and Making of Ephemeral Copies to
  Facilitate Those Performances (Web V), 86 Fed. Reg. 59,452
  (Oct. 27, 2021) (codified at 37 C.F.R. pt. 380) ...................................... 1

Determination of Reasonable Rates and Terms for the Digital
  Performance of Sound Recordings and Ephemeral Recordings,
  67 Fed. Reg. 45,240 (July 8, 2002).................................................. 9, 11

*Determination of Royalty Rates and Terms for Ephemeral
  Recording and Webcasting Digital Performance of Sound
  Recordings (Web IV), 81 Fed. Reg. 26,316 (May 2, 2016) .. 9, 10, 13, 34

Determination of Royalty Rates and Terms for Making and
  Distributing Phonorecords (Phonorecords III), 84 Fed. Reg.
  1918 (Feb. 5, 2019) .............................................................................. 10

*Determination of Royalty Rates and Terms for Transmission of
  Sound Recordings by Satellite Radio and “Preexisting”
  Subscription Services (SDARS III), 83 Fed. Reg. 65,210
  (Dec. 19, 2018)........................................................................... 9, 13, 34

Determination of Royalty Rates for Digital Performance Right in
  Sound Recordings and Ephemeral Recordings, 79 Fed. Reg.
  23,102 (Apr. 25, 2014) ........................................................................... 9

*Digital Performance Right in Sound Recordings and Ephemeral
  Recordings, 72 Fed. Reg. 24,084 (May 1, 2007) ....................... 9, 11, 12




                                                    x
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 12 of 84



                               GLOSSARY

      The following abbreviations or terms are used in this brief.

 CRB                 Copyright Royalty Board

 CWDT                Corrected Written Direct Testimony

 Phonorecords        Determination of Royalty Rates and Terms for
 III                 Making and Distributing Phonorecords
                     (Phonorecords III), 84 Fed. Reg. 1918 (Feb. 5, 2019)

 SDARS III           Determination of Royalty Rates and Terms for
                     Transmission of Sound Recordings by Satellite
                     Radio and “Preexisting” Subscription Services
                     (SDARS III), 83 Fed. Reg. 65,210 (Dec. 19, 2018)

 Web I               Determination of Reasonable Rates and Terms for
                     the Digital Performance of Sound Recordings and
                     Ephemeral Recordings, 67 Fed. Reg. 45,240 (July 8,
                     2002)

 Web II              Digital Performance Right in Sound Recordings and
                     Ephemeral Recordings, 72 Fed. Reg. 24,084 (May 1,
                     2007)

 Web III             Determination of Royalty Rates for Digital
                     Performance Right in Sound Recordings and
                     Ephemeral Recordings, 79 Fed. Reg. 23,102 (Apr.
                     25, 2014)

 Web IV              Determination of Royalty Rates and Terms for
                     Ephemeral Recording and Webcasting Digital
                     Performance of Sound Recordings (Web IV), 81 Fed.
                     Reg. 26,316 (May 2, 2016)

 Web V               Determination of Rates and Terms for Digital
                     Performance of Sound Recordings and Making of
                     Ephemeral Copies to Facilitate Those Performances
                     (Web V), 86 Fed. Reg. 59,452 (Oct. 27, 2021)


                                     xi
USCA Case #21-1244    Document #1981187     Filed: 01/12/2023   Page 13 of 84



 WRT                 Written Rebuttal Testimony




                                    xii
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 14 of 84



                     JURISDICTIONAL STATEMENT

      The CRB published its Final Determination in the Federal Register

on October 27, 2021. Determination of Rates and Terms for Digital

Performance of Sound Recordings and Making of Ephemeral Copies to

Facilitate Those Performances (Web V), 86 Fed. Reg. 59,452 (Oct. 27,

2021) (codified at 37 C.F.R. Part 380). The CRB had jurisdiction under

17    U.S.C.    §§ 112(e)(3),   114(f)(1),   and    801(b)(1).    Petitioner

SoundExchange filed a timely petition for review on November 26, 2021,

pursuant to 17 U.S.C. § 803(d)(1). This Court has jurisdiction over the

matters in this case pursuant to 17 U.S.C. § 803(d)(1). Venue lies in this

Court pursuant to 17 U.S.C. § 803(d)(1).

                       STATEMENT OF ISSUES

      1.   Whether the CRB acted contrary to law and arbitrarily and

capriciously by setting a rate below the sellers’ opportunity cost for

certain ad-supported noninteractive webcasting services, where (i) the

governing statute requires the CRB to set a rate a willing seller would

accept, (ii) the CRB and parties recognized that a willing seller would not

sell below its opportunity cost, and (iii) the CRB did not address, let alone

justify, its decision to set a rate below the opportunity cost it adopted.



                                     1
USCA Case #21-1244     Document #1981187     Filed: 01/12/2023   Page 15 of 84



      2.    Whether the CRB further acted contrary to law and

arbitrarily and capriciously when it (i) based its opportunity cost finding

on a misreading of an expert’s testimony, and (ii) refused to consider

evidence relevant to calculating opportunity cost based on a mistaken

belief that the evidence was not part of the record.

                     STATUTES AND REGULATIONS

      All pertinent statutes and regulations are set forth in the

addendum to this brief.

                      STATEMENT OF THE CASE

      At the heart of this appeal is a basic economic truth incorporated

into the governing legal standard for the proceeding below: no seller will

voluntarily sell its product for a lower price than it can get elsewhere—

i.e. its opportunity cost.1

      In the Copyright Act, Congress provided a statutory license for

certain internet webcasters. 17 U.S.C. § 114(d)(2). That license entitles

those webcasters to use on their services all commercially-released sound

recordings, regardless of whether that use was approved by the artists


1 “The opportunity cost of anything of value is what you must give up to
get it.” J.A. 1276 (slip op. 164 n.220) (quoting John Quiggin, Economics
in Two Lessons: Why Markets Work So Well, and Why They Can Fail So
Badly 15 (2019)).

                                     2
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 16 of 84



and copyright owners, represented here by Petitioner SoundExchange.

In exchange for that privilege, Congress required the webcasters to pay

a fair market value royalty—i.e., one “that would have been negotiated

in the marketplace between a willing buyer and a willing seller.” 17

U.S.C. § 114(f)(1)(B). The CRB is tasked with setting such rates in

proceedings such as the one below.

      At the trial below, it was uncontested that licensing recordings to

webcasters eligible for the statutory license would reduce payments to

artists and copyright owners from other forms of music distribution, such

as on-demand streaming services, satellite radio, digital downloads, CDs,

and vinyl records. This lost revenue represented the opportunity cost of

licensing to the webcasters at issue. The parties also agreed—consistent

with prior CRB determinations—that a statutory rate set below the

sellers’ opportunity cost would not satisfy the willing buyer/willing seller

standard. After all, no willing seller would give up more to get less.

      Yet without explanation—or even an acknowledgment of the

discrepancy—the CRB set a royalty rate for ad-supported noninteractive

webcasters below the opportunity cost figure it adopted. In other words,

the CRB set a royalty rate that yields payments less than the revenue



                                     3
USCA Case #21-1244    Document #1981187      Filed: 01/12/2023   Page 17 of 84



the CRB thought copyright owners and artists would earn if such

webcasting was unavailable and consumers instead listened to music

through other sources. No willing seller would accept that rate. The

CRB’s error violates its statutory mandate and will cost the copyright

owners and artists represented by SoundExchange tens of millions of

dollars in lost royalties.

      The CRB did not just err in setting a rate below opportunity cost, it

also erred in calculating the opportunity cost itself. The CRB credited

testimony from a webcaster’s expert that it claimed supported an

opportunity cost of $0.00222 per webcast performance.2 But that expert

did not find that the relevant opportunity cost was $0.00222. Rather, his

testimony was that the opportunity cost was $0.00222 plus an additional

amount associated with lost revenues from another kind of music service.

The CRB did not acknowledge or account for that additional opportunity

cost. The expert’s complete estimate yielded an opportunity cost of




2 In its Determination, the CRB generally rounded per-performance
royalties to four decimal places, but it provided no explanation or
justification for its decision to do so. In this brief, SoundExchange uses
the more accurate numbers from the record (five decimal places). This
difference translates to millions of dollars in royalties over the rate
period.

                                    4
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 18 of 84



$0.00233, not $0.00222. Again, that is a difference of millions of dollars

of royalties given the hundreds of billions of streams at issue over the

license period.

      The CRB also failed to consider other material record evidence of

opportunity cost. SoundExchange’s economic expert Professor Willig

presented testimony that a component of the opportunity cost calculation

eventually adopted by the CRB needed to be adjusted upward. The CRB

rejected that adjustment not on the merits, but solely on the basis that

the adjustment had been excluded from the record based on an objection

from opposing counsel. Yet no objection was ever lodged to the testimony

Professor Willig gave about the adjustment. And, in any event, the

objection the CRB cited (which related to anticipated additional

testimony) was never sustained. The CRB did not rule on that objection,

and the objecting counsel affirmatively withdrew it.

      The Determination thus rests on multiple intertwined errors. First,

it was legal error to set a rate below opportunity cost because the statute

requires the CRB to set a rate that a willing seller would accept. No

willing seller would sell at a rate that yields a net loss. Second, although

no rational justification could exist, the CRB’s failure to provide any



                                     5
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 19 of 84



explanation for its decision to set a rate below opportunity cost was

arbitrary and capricious. That unexplained decision ran counter to what

the CRB had held in prior proceedings and the testimony from both sides’

experts at trial. Third, the CRB employed the wrong measure of

opportunity cost. The CRB misstated the testimony of the expert it relied

upon, and it ignored other relevant testimony solely because it

mistakenly believed that testimony had been excluded. Had the CRB

considered this testimony, it would have been obligated to find a still-

higher opportunity cost, and to set the royalty rate at or above that floor.

      For   all   these   reasons   and   as   explained     further    below,

SoundExchange asks that the Determination be vacated and remanded

in relevant part with instruction that the CRB set the rate for ad-

supported noninteractive services no lower than the opportunity cost

established by the record, and at a minimum, no lower than $0.00233 per

performance.

      A.    Statutory and Regulatory Background

      This is an appeal brought by SoundExchange, the representative of

sound recording copyright owners and recording artists, from a decision

of the CRB establishing the royalty rates that certain webcasters will pay



                                     6
USCA Case #21-1244    Document #1981187      Filed: 01/12/2023   Page 20 of 84



for a statutory license to transmit music and other sound recordings over

the five-year rate period 2021-2025.

            1.    Statutory Licenses

      The Copyright Act grants copyright owners certain exclusive rights

to their works. 17 U.S.C. § 106. In the case of sound recordings, the type

of work at issue here, those rights include the exclusive rights to

reproduce their recordings and perform them publicly “by means of . . .

digital audio transmission[s].” 17 U.S.C. § 106(1), (6). These rights are

subject to statutory licenses, meaning that eligible digital music services

that comply with statutory license requirements, including payment of

royalties, may reproduce and publicly perform sound recordings in

certain ways without the copyright owner’s authorization. See, e.g., 17

U.S.C. §§ 112(e), 114(d)(2), (f).

      Sound recording statutory licenses are available to digital services

like internet webcasters that are “noninteractive”—that is, services that,

among other things, do not transmit a specific sound recording in

response to a user’s request. In contrast to these radio-like services,

“interactive” services like Spotify provide “on demand” functionality and

are therefore ineligible for a statutory license. They must, therefore,



                                    7
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 21 of 84



reach negotiated agreements with copyright owners to perform

recordings lawfully. See 17 U.S.C. § 114(d)(2)(A)(i), (j)(7).

      The statutory provisions distinguish among different types of

services. As relevant here, the proceeding below was to set rates for

(i) services that are free to consumers and generate revenue through

advertisements (“ad-supported” services, or in the words of the statute,

services   making     “eligible   nonsubscription     transmissions”)     and

(ii) services that require a consumer to pay a subscription fee (“new

subscription services”). See 17 U.S.C. §§ 114(j)(6), (8), 804(b)(3)(A).

           2.    Copyright Royalty Board

      The Copyright Act does not itself prescribe royalty rates for the

sound recording statutory licenses, instead assigning that task to the

Copyright Royalty Judges constituting the CRB, an administrative body

that is part of the Library of Congress. 17 U.S.C. § 801. Every five years,

the CRB holds proceedings to set statutory royalty rates and terms for

the upcoming five-year period for performances by webcasters and

reproduction of so-called “ephemeral” copies used to facilitate those

performances. 17 U.S.C. § 804(b)(3)(A).




                                      8
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 22 of 84



      The   proceeding    below—Web       V—was     the   fifth   webcasting

proceeding, covering the 2021-2025 period. The Web V Determination

drew on the analysis from the prior four webcasting decisions:

Determination of Reasonable Rates and Terms for the Digital

Performance of Sound Recordings and Ephemeral Recordings, 67 Fed.

Reg. 45,240 (July 8, 2002) (“Web I”); Digital Performance Right in Sound

Recordings and Ephemeral Recordings, 72 Fed. Reg. 24,084 (May 1, 2007)

(“Web II”); Determination of Royalty Rates for Digital Performance Right

in Sound Recordings and Ephemeral Recordings, 79 Fed. Reg. 23,102

(Apr. 25, 2014) (“Web III”) (on remand from this Court); and

Determination of Royalty Rates and Terms for Ephemeral Recording and

Webcasting Digital Performance of Sound Recordings (Web IV), 81 Fed.

Reg. 26,316 (May 2, 2016) (“Web IV”). In separate proceedings, the CRB

also sets statutory rates for other types of services, as well as rates under

other statutory licenses. These other proceedings often raise issues

similar to those addressed in webcasting proceedings. See, e.g.,

Determination of Royalty Rates and Terms for Transmission of Sound

Recordings by Satellite Radio and “Preexisting” Subscription Services

(SDARS III), 83 Fed. Reg. 65,210 (Dec. 19, 2018) (setting royalty rates



                                     9
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 23 of 84



applicable to use of sound recordings by satellite radio); Determination of

Royalty Rates and Terms for Making and Distributing Phonorecords

(Phonorecords III), 84 Fed. Reg. 1918 (Feb. 5, 2019) (setting royalty rates

applicable to the reproduction and distribution of musical works).

      Although the CRB is not subject to plenary review by any superior

official in the Executive Branch, it is generally subject to principles of

administrative law and bound by its own decisions and by “prior

determinations and interpretations of,” inter alia, the Librarian of

Congress and the Register of Copyrights. 17 U.S.C. § 803(a)(1).

           3.    Willing Buyer/Willing Seller Standard

      “[T]he Copyright Act directs the [CRB] to ‘establish rates and terms

that most clearly represent the rates and terms that would have been

negotiated in the marketplace between a willing buyer and a willing

seller’ if the webcasting statutory license did not exist.” Intercollegiate

Broad. Sys., Inc. v. Copyright Royalty Bd., 796 F.3d 111, 131 (D.C. Cir.

2015) (quoting a provision since redesignated as 17 U.S.C. § 114(f)(1)(B)).

In doing so, the CRB looks to a hypothetical marketplace “free of the

influence of compulsory, statutory licenses,” Web IV, 81 Fed. Reg. at

26,316, where the sellers are the record companies and the product being



                                    10
USCA Case #21-1244       Document #1981187      Filed: 01/12/2023   Page 24 of 84



sold is a “blanket license for each . . . record company’s complete

repertoire of sound recordings.” Web II, 72 Fed. Reg. at 24,091 (quoting

Web I, 67 Fed. Reg. at 45,244).

        In establishing rates and terms that satisfy the willing

buyer/willing seller standard, the CRB considers “economic, competitive,

and programming information presented by the parties.” 17 U.S.C.

§ 114(f)(1)(B)(i). It “may consider the rates and terms for comparable

types     of   digital   audio   transmission   services    and     comparable

circumstances under voluntary license agreements.” Intercollegiate

Broad. Sys., Inc. v. Copyright Royalty Bd., 574 F.3d 748, 753-54 (D.C. Cir.

2009) (quoting redesignated provision 17 U.S.C. § 114(f)(1)(B)(ii)). And it

may consider how webcasting may affect “copyright owner[s’] other

streams of revenue” and the “relative roles” of copyright owners and

webcasters. 17 U.S.C. § 114(f)(1)(B)(i)(I), (II).

               4.   Benchmarking

        Since Web I, agreements voluntarily negotiated between private

parties have been used as “benchmarks” to determine willing

buyer/willing seller rates for webcasting. See Web I, 67 Fed. Reg. at

45,246-49. To set rates based on benchmarks, the CRB typically begins



                                       11
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 25 of 84



by identifying a set of comparable agreements negotiated in unregulated

markets. It then adjusts the rates found in those benchmark agreements

to account for any differences between the benchmark (unregulated) and

target (statutory) markets. See Web II, 72 Fed. Reg. at 24,092.

           5.    Opportunity Cost “Floor”

      The CRB has recognized and endorsed the economic principle that

no willing seller would sell at a price below its opportunity cost. In the

recorded music industry, that means no copyright owner would license

use of its sound recordings for less than it would otherwise earn. If

licensing to a webcaster would cause consumers to spend less on digital

downloads, or on subscriptions to satellite radio, then that licensing

decision has an associated opportunity cost. The royalties paid by the

webcaster must at least cover that opportunity cost for the license to

make economic sense for the copyright owner. See, e.g., J.A. 1786-87

(Willig CWDT ¶ 24); J.A. 1741-42 (Shapiro CWDT at 13, 15); J.A. 611-12

(8/5/20 Tr. 407:6-408:2 (Willig)); see also J.A. 1173 (slip op. 61 n.77); J.A.

1292 (slip op. 180 n.246); J.A. 1291-92 (slip op. 179-80 & n.246).

      Thus, as the CRB explained in Web IV, “[o]n the licensors’ side of

the market (the sellers’ side), the limit on the willingness to supply



                                     12
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 26 of 84



recordings at reduced rates is reached when the licensor determines that

any further reduction in the rate will not be sufficient to cover all

marginal and recurring fixed costs (including opportunity costs) for its

particular repertoire.” 81 Fed. Reg. at 26,366 (second emphasis added).

The CRB reiterated in SDARS III that opportunity cost sets a floor

beneath which rational sellers will not sell: “In an unregulated market,

a supplier (record label or copyright owner) will not sell (license) to a

service unless the supplier is compensated at or above its walk-away

opportunity cost.” 83 Fed. Reg. at 65,230.

      In the proceedings below, the parties agreed that opportunity cost

sets the sellers’ price floor. SoundExchange’s expert, Professor Robert

Willig, explained that “opportunity cost is—is a floor on the applicable

royalty rates that [the sellers] should be receiving.” J.A. 1435 (8/6/20 Tr.

683:23-25 (Willig)). NAB’s expert, Gregory Leonard, agreed that “[i]f

accurately measured, in theory the opportunity cost is the lowest royalty

that the licensor would find acceptable.” J.A. 1610 (Leonard CWDT ¶ 99).

      Pandora and Sirius XM’s expert, Professor Carl Shapiro, likewise

agreed that “in a bilateral negotiation between a record company and a

service, the record company won’t accept a royalty rate that’s less than



                                    13
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 27 of 84



its opportunity cost of granting a license.” J.A. 1467-68 (8/20/20 Tr.

3126:23-3127:4 (Shapiro)); see also J.A. 673-74 (8/18/20 Tr. 2653:21-

2654:4 (Shapiro)); J.A. 1741 (Shapiro CWDT at 13) (“In a willing-

buyer/willing-seller setting, a record company would not license its

repertoire to a given music service unless the royalties it receives from

that music service are sufficient to compensate that record company for

the royalties it loses as a result of the resulting reduction in other forms

of listening. A record company’s opportunity cost of licensing its

repertoire to a given music service is thus the minimum amount that the

record company would accept before agreeing to license its repertoire to

that music service”); J.A. 1740 (Shapiro CDWT at 4). Accordingly,

Professor Shapiro’s bargaining models were expressly designed to result

in the record labels receiving “at least [their] opportunity cost.” J.A. 1468

(8/20/20 Tr. 3127:5-8 (Shapiro)).

      Thus, while the parties offered differing measures of opportunity

cost and calculated different royalty proposals as a result, there was no

disagreement about the basic principle that the statutory royalty rate

could not be less that the sellers’ opportunity cost.




                                     14
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 28 of 84



      B.   Determination Below

      As relevant to this appeal, the CRB’s Determination below set the

statutory royalty rate for ad-supported noninteractive services at

$0.0021 per performance starting in 2021, with annual adjustments for

inflation over the five-year rate period.3 J.A. 1113 (slip op. 1). Examples

of ad-supported noninteractive services include free-to-the-user services

from Google and iHeart, as well as internet simulcasts of AM/FM

transmissions by commercial broadcast radio stations.4

           1.    Evidence of Opportunity Cost

      Given the CRB’s prior decisions and the parties’ shared premise

that sellers’ opportunity cost sets the floor for a statutory rate, computing

opportunity cost was a central issue at trial. The CRB ultimately devoted

nearly sixty pages in its Determination to evaluating opportunity cost.

See J.A. 1274-1330 (slip op. 162-218).



3 For this purpose, a “performance” is the transmission of one recording
to one listener. See 37 C.F.R. § 380.7. A performance is sometimes also
referred to as a “play” or a “stream.” All participants in the proceeding
below agreed that the statutory royalty rate for ad-supported
noninteractive services should be denominated on a per-performance
basis, but they disagreed concerning what the per-performance rate
should be.
4 The Web V determination set other rates and fees that are not at issue

in this appeal.

                                     15
USCA Case #21-1244   Document #1981187      Filed: 01/12/2023   Page 29 of 84



      a.   On behalf of SoundExchange, Professor Willig testified, in

relevant part, that record company opportunity cost had two components.

He first found that, for each performance by a webcaster, there was an

opportunity cost of $0.00273 associated with diversion of listeners from

“outside” music products and services (i.e., those not at issue in this

proceeding, such as interactive services, satellite radio, physical

products, and digital downloads). J.A. 1791 (Willig CWDT at 23 (Figure

6)). He also found that there was an additional opportunity cost of

$0.00011 per performance associated with diversion from subscription

noninteractive services, another kind of webcasting service whose rate

was set by the CRB. J.A. 1312 (slip op. 200); J.A. 1795-96 (Willig CWDT

at 27 (Figure 9) & n.32). He addressed the two components separately

because revenue from outside sources was known at the time of his

testimony, while revenue from subscription noninteractive services

depended on the rates to be set in the proceeding.5


5 Because Professor Willig calculated the opportunity cost for diversion
from subscription noninteractive services well before the CRB rendered
its Determination, he calculated that opportunity cost based on a royalty
rate for subscription noninteractive services of $0.00312 per performance
as indicated by his economic model. J.A. 1795-96 (Willig CWDT at 27 &
n.32). The $0.0026 per performance rate for subscription noninteractive
services that the CRB ultimately adopted implies a somewhat lower

                                   16
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 30 of 84



      Thus, in total, Professor Willig found that the opportunity cost of

licensing recordings for use on ad-supported non-interactive services was

$0.00284 per performance—$0.00273 plus $0.00011. J.A. 1791 (Willig

CWDT at 23 (Figure 6)); J.A. 1795 (id. at 27 (Figure 9)).

      Professor Willig calculated opportunity cost as an input to an

analysis that attempted to model how these parties would approach a

negotiation with one another. That bargaining model, known as a

“Shapley value” analysis, considers not only each party’s opportunity cost

but also how much additional value their agreement would create. The

goal of a Shapley value analysis is to consider how the parties to an

agreement would divide that surplus value. J.A. 1784-85 (Willig CWDT

¶¶ 13, 14); J.A. 607, 610 (8/5/20 Tr. 318:21-25, 371:13-17 (Willig)); J.A.

622 (8/6/20 Tr. 719:23-25 (Willig)). Each party’s “Shapley Value” equals

“their average share of the surplus they contribute,” plus their

opportunity cost (that is, what they would obtain absent any agreement).

J.A. 1276 (slip op. 164). This approach indicates that royalty rates should




opportunity cost for diversion from subscription noninteractive services
than the $0.00011 per performance originally calculated by Professor
Willig. However, rather than adjusting for this difference, the CRB
ignored this component of opportunity cost altogether.

                                    17
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 31 of 84



be set “high enough to at least allow the record companies to receive . . .

their opportunity costs . . . plus their Shapley Values,” because any lower

and the record companies “would not license their repertoires to the

noninteractive services.” Id.

      b.   The Services’ experts countered with various adjustments to

Professor Willig’s opportunity cost analysis. Professor Shapiro testified

that Professor Willig’s “[o]utside” opportunity cost subtotal of $0.00273

per stream needed to be adjusted downward to $0.00222 per stream. J.A.

1751 (Shapiro WRT at 50 (Figure 8 n.1)); see also J.A. 1312 (slip op. 200).6

Professor Shapiro contended that Professor Willig did not properly

measure opportunity cost associated with reduced sales of CDs, vinyl

records, and digital downloads. Specifically, Professor Shapiro said that

Professor Willig derived an incorrect average of the royalties obtained

from these three sources because Professor Willig weighted those

royalties by retail revenues instead of weighting them by unit sales. By

adjusting for that issue, Professor Shapiro derived a reduced weighted




6In addition to responding to Professor Willig’s Shapley value approach,
Professor Shapiro offered two other models to calculate opportunity cost.
The CRB rejected these alternatives as “unusable” because they were
“based on unreliable data.” J.A. 1328-29 (slip op. 216-17).

                                    18
USCA Case #21-1244   Document #1981187      Filed: 01/12/2023   Page 32 of 84



average royalty rate for CDs, vinyl, and digital downloads ($1.67) and an

associated reduced opportunity cost ($0.00222 per performance). Id.; see

also J.A. 1751, 1768 (Shapiro WRT at 50 (Figure 8), 82 (Figure D.1)).

      Throughout his analysis, Professor Shapiro acknowledged that his

figures did not account for the second component of opportunity cost—

diversion from subscription noninteractive services to ad-supported

noninteractive services. See J.A. 1751 (Shapiro WRT at 50 (Figure 8 n.1))

(“Outside Distributors include all form of music distribution other than

non-interactive advertising-supported and subscription services.”). The

Services never disputed Professor Willig’s finding that diversion from

subscription   noninteractive   services   resulted   in   an   additional

opportunity cost of $0.00011 per performance for ad-supported

noninteractive services.

      c.   At trial, Professor Willig acknowledged that “there was some

merit to that point that Professor Shapiro made” about his weighting of

the opportunity cost associated with CDs, vinyl, and downloads. J.A. 614

(8/5/20 Tr. 504:23-24 (Willig)). However, Professor Willig explained that

when he revisited his analysis in light of Professor Shapiro’s criticism,

Professor Willig discovered a simple but material computational error in



                                   19
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023    Page 33 of 84



Professor Shapiro’s weighting by units sold. J.A. 614-15 (8/5/20 Tr.

504:25-505:6 (Willig)). Specifically, Professor Shapiro miscalculated the

total number of consumers because he assumed that all purchasers of

CDs, vinyl, and digital downloads were unique individuals, ignoring the

reality that some customers purchase multiple formats. See id.; see also

J.A.   268-69   (SoundExchange’s     Proposed    Findings     of   Fact   and

Conclusions of Law ¶ 634). In other words, Professor Shapiro’s model

assumed there were more total users than there actually were, which

depressed the per-user royalty. See J.A. 269 (SoundExchange’s Proposed

Findings of Fact and Conclusions of Law ¶ 635). After correcting the

denominator in Professor Shapiro’s calculations, Professor Willig found

that the weighted average royalty for CDs, vinyl, and digital downloads

increased from $1.67 (Professor Shapiro’s calculation) to $2.17 per user

per month. J.A. 614-15 (8/5/20 Tr. 504:16-505:6 (Willig)).

       The Services did not dispute Professor Willig’s adjustment on the

merits, and they did not object at trial to his revised calculation of $2.17

per user per month. Their Proposed Findings of Fact contain no rebuttal

of the adjustment.




                                    20
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 34 of 84



            2.   The CRB Adopted a Misreading of Professor
                 Shapiro’s Opportunity Cost Testimony and Did
                 Not Consider Professor Willig’s Uncontroverted
                 Corrections

      In its Determination, the CRB purported to adopt Professor

Shapiro’s opportunity cost analysis, which it characterized as yielding an

opportunity cost of $0.00222 per stream. But in doing so, the CRB failed

to account for the fact that Professor Shapiro’s $0.00222 figure was

incomplete because it did not include the additional $0.00011 opportunity

cost associated with diversion from subscription noninteractive services.

The CRB also declined to consider Professor Willig’s corrections to

Professor Shapiro’s calculations.

      a.    After evaluating the Services’ experts’ arguments, the CRB

found that, “[b]ased on the foregoing adjustments accepted by the Judges,

Professor Willig’s opportunity cost calculation must be adjusted, as set

forth [below in Figure 8].” J.A. 1312 (slip op. 200) (emphasis added). The

CRB then set forth a table from Professor Shapiro’s written testimony

adjusting    Professor   Willig’s   opportunity   cost    subtotal    before

summarizing: “Professor Shapiro’s adjustments reduce the opportunity

cost for ad-supported services from $0.00273 (Professor Willig’s estimate)

to $0.00222 (Professor Shapiro’s adjusted estimate).” Id. As explained


                                    21
USCA Case #21-1244     Document #1981187       Filed: 01/12/2023   Page 35 of 84



above, however, Professor Shapiro’s testimony was that the opportunity

cost was $0.00222 plus the additional opportunity cost associated with

diversion from subscription noninteractive services, which Professor

Willig calculated to be $0.00011, a figure the Services did not dispute.

      b.   In adopting an opportunity cost of $0.00222, the CRB also

rejected   Professor    Willig’s   testimony   that    Professor    Shapiro’s

opportunity cost estimate needed to be adjusted upwards. The CRB

rejected that testimony not on the merits, but rather because it asserted

the testimony was not in the record.

      According to the CRB, “Pandora’s counsel interposed a prompt

objection” to Professor Willig’s testimony that the per user opportunity

cost was actually $2.17, and “SoundExchange’s counsel did not respond.”

J.A. 1304 (slip op. 192 n.263). The CRB went on to state that when it

“afforded SoundExchange’s counsel an opportunity to respond to the

objection by Pandora’s counsel that had prevented Professor Willig from

testifying on this topic before the recess, so that the Judges could decide

whether to sustain or overrule the objection raised by Pandora’s counsel,

. . . SoundExchange’s counsel declined to address the objection, claiming

(incorrectly) that the testimony that was the subject of the objection ‘is



                                     22
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023    Page 36 of 84



already in the record.’” Id. (citing 8/5/20 Tr. 504-05; 514-15 (colloquy)).

The CRB therefore concluded that “no such testimony regarding an

alleged offset as to Professor Shapiro’s physical opportunity cost

correction (accepted by Professor Willig) is in the record.” Id.

      Contrary to the CRB’s account, Professor Willig’s testimony was

never excluded. After Professor Willig testified to his adjusted $2.17

figure, Pandora’s counsel objected that “we’re on the verge of getting into

a new analysis.” J.A. 614-15 (8/5/20 Tr. 504:21-505:18 (Willig)) (emphasis

added). To the extent that was an objection to the $2.17 figure at all, the

CRB did not rule on the objection, choosing instead to defer the issue.

J.A. 616 (Id. 506:1-10). When the CRB later returned to the question,

Pandora’s counsel clarified: “I don’t object to the testimony that’s been

elicited. I think my objection was that I felt [Professor Willig was] going

to get into more objectionable testimony.” J.A. 1431 (Id. 515:14-17).

Reiterating, he said “if they’re prepared to move on, I don’t have a

standing objection.” J.A. 1431 (Id. 515:18-19). Accordingly, Professor

Willig’s testimony concerning the revised opportunity cost associated

with switching to CDs, vinyl, and digital downloads was in the record of

the proceeding below.



                                    23
USCA Case #21-1244     Document #1981187         Filed: 01/12/2023    Page 37 of 84



             3.    The CRB Adopted a Rate Below Opportunity
                   Cost

      Having adopted what it mischaracterized as Professor Shapiro’s

finding that the relevant opportunity cost was $0.00222 per stream, the

CRB then set the rate for ad-supported noninteractive services at

$0.0021, which was less than the opportunity cost it found. The CRB did

not acknowledge or address this discrepancy.

      a.     The CRB conducted an analysis of the competing benchmark

analyses proposed by Mr. Jon Orszag, Professor Shapiro, and Dr. Steven

Peterson—SoundExchange’s,           Pandora’s,     and     Google’s      experts,

respectively. The CRB chose among the experts’ dueling proposed

upward and downward adjustments to establish a framework, which the

CRB applied to each experts’ analysis to calculate judge-modified

benchmark rates for the ad-supported market:

            Mr. Orszag (SoundExchange): $0.0023 per performance. J.A.

             1261 (slip op. 149).

            Professor Shapiro (Pandora): $0.0023 per performance. J.A.

             1259 (slip op. 147).

            Dr. Peterson (Google): $0.0021 per performance. J.A. 1271-72

             (slip op. 159-60).


                                      24
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 38 of 84



      Following this exercise, the CRB spent nearly 150 pages of its

Determination addressing Professor Willig’s Shapley approach and a half

dozen other topics before returning to the ultimate question of rates and

abruptly concluding that Dr. Peterson’s adjusted benchmarking analysis

yielding a rate of $0.0021 per play best satisfied the willing buyer/willing

seller standard. J.A. 1413 (slip op. 301).

      b.   The CRB did not address (or even seem to recognize) the fact

that the royalty rate it selected based on Dr. Peterson’s analysis was

below the partial opportunity cost calculation from Professor Shapiro

that it adopted much earlier in its determination. Instead, it discussed

Professor Willig’s Shapley analysis. Professor Willig’s Shapley model

yielded a royalty rate of $0.00297. J.A. 1795 (Willig CWDT at 27

(Figure 9)). But, earlier, the CRB had found that Professor Willig’s

Shapley model should be adjusted to yield a royalty rate below $0.0023.

J.A. 1314-15 (slip op. 202-03). After finding that Dr. Peterson’s adjusted

benchmark of $0.0021 was more persuasive than Mr. Orszag and

Professor Shapiro’s adjusted benchmarks of $0.0023, the CRB noted “that

this conclusion is also supported by the limited guideposts yielded by

Professor Willig’s Shapley Model-derived rates, as adjusted by the [CRB],



                                    25
USCA Case #21-1244    Document #1981187      Filed: 01/12/2023   Page 39 of 84



which indicate that effectively competitive rates would be less than

$0.0023 for ad-supported services.”7 J.A. 1413 (slip op. 301).

      c.   The consequences of setting a royalty rate at $0.0021 rather

than $0.00222 per performance are significant. In 2021, the first year of

the term covered by the Determination, SoundExchange collected nearly

$100 million in royalties for performances on ad-supported services at the

$0.0021 rate adopted by the CRB. If that rate were increased to $0.00222,

those one-year royalties would be increased by almost $6 million. Over

the course of a five-year term, the lost royalties are nearly $30 million.

Increasing the royalty rate to $0.00233 per performance would have a

further similar effect.

                     SUMMARY OF ARGUMENT

      I.   The CRB irrationally concluded that copyright owners and

artists would willingly license their recordings to ad-supported

noninteractive services for $0.0021 per performance, even though they

would lose $0.00222 per performance from other sources by doing so.




7 To be clear, Professor Willig’s Shapley Model is not his estimate of
opportunity cost. The latter ($0.00284) is an input to the former, which
yielded a proposed rate of $0.00297. J.A. 1795 (Willig CWDT at 27
(Figure 9)).

                                    26
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 40 of 84



      That was error. By law, the CRB was required to set a rate that a

willing seller would accept. The CRB recognized in previous proceedings,

and the parties agreed in this proceeding, that a willing seller would not

sell at a price below its opportunity cost, and hence that a rate below

opportunity cost would not satisfy the willing buyer/willing seller

standard set forth in the Copyright Act. The CRB violated that statutory

standard when it set a rate below opportunity cost and, in doing so, cost

copyright owners and artists tens of millions of dollars in lost royalties

over the rate period. Although there could be no rational explanation for

the CRB’s ruling, the CRB did not even purport to provide a reason for

the discrepancy. The decision was therefore arbitrary and capricious as

well as contrary to law.

      II.   The CRB further erred in calculating the opportunity cost

itself. It purported to adopt Professor Shapiro’s estimate of opportunity

cost, which it interpreted to be $0.00222. But that was not Professor

Shapiro’s testimony. As the very table reproduced in the CRB’s

Determination makes clear, Professor Shapiro’s $0.00222 estimate was

exclusive of additional opportunity cost due to diversion from

subscription noninteractive services. Professor Willig’s uncontroverted



                                   27
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 41 of 84



testimony was that such additional opportunity cost added $0.00011 per

performance to Professor Shapiro’s estimate. The CRB acted arbitrarily

and capriciously when it misstated Professor Shapiro’s estimate. The

CRB further erred when it refused to consider Professor Willig’s upward

adjustment to a component of the opportunity cost analysis it adopted.

The CRB rejected that adjustment—which was not substantively

disputed by the Services—solely on the mistaken ground that it was not

part of the record. However, the record is clear that, to the extent any

objection was lodged, it was never ruled upon and was ultimately

withdrawn. The CRB acted arbitrarily and capriciously when it refused

to consider Professor Willig’s adjustment.

                              STANDING

      SoundExchange participated in the proceeding below, is bound by

it, and is authorized to collect and distribute royalties under the Section

114 and 112 statutory licenses, including to its copyright-owner and

recording-artist members. The Determination under review set those

royalties at an unlawful and arbitrarily low rate that will cause injury to

copyright owners and artists. SoundExchange thus has standing to seek




                                    28
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 42 of 84



review of the Order on its own behalf and on behalf of its members. Sierra

Club v. EPA, 292 F.3d 895, 898 (D.C. Cir. 2002).

                              ARGUMENT

I.    The CRB’s Decision to Set the Statutory Royalty Rate for
      Ad-Supported Noninteractive Services Below Opportunity
      Cost Was Contrary to Law and Arbitrary and Capricious

      The parties presented substantial opportunity cost evidence at

trial, and the CRB devoted more than 60 pages of its Determination to

the issue. See generally J.A. 1274-1330 (slip op. 162-218). Although the

parties disputed what the opportunity cost was, they agreed about what

the opportunity cost meant: no willing seller would sell below its

opportunity cost. See J.A. 1435 (8/6/20 Tr. 683:23-25 (Willig)); J.A. 1467-

68 (8/20/20 Tr. 3126:23-3127:8 (Shapiro)).

      The parties further agreed about what opportunity cost means in

the real world: it measures the extent to which licensing sound recordings

for performance by ad-supported noninteractive webcasters will reduce

revenues from other sources, such as on-demand services, satellite radio,

CDs, vinyl, digital downloads, and subscription noninteractive services.

The parties’ focus on opportunity cost reflected the CRB’s prior repeated




                                    29
USCA Case #21-1244   Document #1981187      Filed: 01/12/2023   Page 43 of 84



determination that a willing seller would not sell below its opportunity

cost, a conclusion the CRB did not question in the current proceeding.

      Notwithstanding past practice, current consensus, and its extended

discussion of opportunity cost, the CRB set the rate for ad-supported

noninteractive services below the opportunity cost it found. J.A. 1413

(slip op. 301). In other words, the CRB simultaneously concluded that

copyright owners and artists would forfeit $0.00222 per performance

from other sources by licensing to ad-supported noninteractive services,

and yet would willingly license their recordings to those services for

$0.0021 per performance. The CRB did so without acknowledging this

discrepancy, let alone explaining it (although there could be no rational

explanation for such a conclusion). This failure renders the CRB’s rate

unlawful, and arbitrary and capricious.

      A.   Agencies Must Comply with the Law and Give
           Reasons for Their Decisions

      Twin pillars govern agency decision-making: an agency must act

consistent with governing law, and its decision-making must be rational

and supported by reasons identified in the record. 5 U.S.C. § 706; Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 42-43 (1983). With respect to the law, the agency is bound to


                                   30
USCA Case #21-1244    Document #1981187         Filed: 01/12/2023   Page 44 of 84



follow Congress’s clear instructions and to adopt a reasonable

interpretation of any ambiguous statute. See City of Clarksville v. FERC,

888 F.3d 477, 482 (D.C. Cir. 2018).

      Even where an agency has discretion to act under a statute, it must

give valid reasons for its decision. This includes “examin[ing] the relevant

data and articulat[ing] a satisfactory explanation for its action including

a ‘rational connection between the facts found and the choice made.’”

State Farm, 463 U.S. at 43 (citation omitted). A decision is arbitrary and

capricious if it “runs counter to the evidence before the agency,” Growth

Energy v. EPA, 5 F.4th 1, 31 (D.C. Cir. 2021), or if it “ignore[s] . . . factual

findings that contradict [the agency’s] new policy,” National Lifeline

Ass’n v. FCC, 921 F.3d 1102, 1111 (D.C. Cir. 2019). Put simply, “[t]he

requirement that agency action not be arbitrary or capricious includes a

requirement that the agency adequately explain its result.” Public

Citizen, Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir. 1993).

      In addition to being obliged to comply with these general precepts

of administrative law, the CRB is also required to rule consistent with

“prior determinations and interpretations of the Copyright Royalty

Tribunal, Librarian of Congress, the Register of Copyrights, copyright



                                      31
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 45 of 84



arbitration royalty panels . . . Copyright Royalty Judges . . . under this

chapter, and decisions of the court of appeals under this chapter.” 17

U.S.C. § 803(a)(1). “The Judges are free to depart from precedent if they

provide reasoned explanations for their departures.” Intercollegiate

Broad. Sys., Inc., 574 F.3d at 762; see also Music Choice v. Copyright

Royalty Bd., 774 F.3d 1000, 1013 (D.C. Cir. 2014). But they may not sub

silentio depart from their prior decisions.

      B.   The CRB Acted Unlawfully by Setting a Rate Below
           Opportunity Cost

      Having found that copyright owners and artists would be forgoing

revenues of $0.00222 per performance from other sources by licensing

their music to ad-supported noninteractive services, it was error for the

CRB to hold that a willing seller would agree to license its recordings for

a royalty of $0.0021 per performance (i.e., less than the amount that they

would forgo).

      1.   As an initial matter, it is clear that this is what the CRB did.

After reviewing the trial record on opportunity cost over the course of

nearly 60 pages of its Determination, the CRB expressly adopted

Professor Shapiro’s recalculation of Professor Willig’s opportunity cost

subtotal. The CRB concluded that “[b]ased on the foregoing adjustments


                                    32
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 46 of 84



accepted by the Judges, Professor Willig’s opportunity cost calculation

must be adjusted. . . . Professor Shapiro’s adjustments reduce the

opportunity cost for ad-supported services from $0.00273 (Professor

Willig’s estimate) to $0.00222 (Professor Shapiro’s adjusted estimate).”

J.A. 1312 (slip op. 200) (emphasis added). Nonetheless, after considering

various benchmarking analyses, the CRB chose to credit Dr. Peterson’s,

setting a rate of $0.0021 per performance. J.A. 1413 (slip op. 301).

      2.   That determination was unlawful. First, it cannot be

reconciled with the governing statute requiring the CRB to set a rate that

best approximates what a “willing seller” would accept. As this Court has

explained, that standard requires the CRB to adopt a rate that “would

have been negotiated in the marketplace between a willing buyer and a

willing seller.” Intercollegiate Broad. Sys., Inc., 574 F.3d at 757 (quoting

what is now 17 U.S.C. § 114(f)(1)(B)). After all, no willing seller would

give up more to get less. Yet that is precisely what the CRB decreed when

it found that the opportunity cost of licensing to ad-supported

noninteractive services is $0.00222 yet set a statutory royalty rate of

$0.0021. In effect, the CRB imposed a rate that, by its own calculations,

does not allow copyright owners and artists to recover revenues lost



                                    33
USCA Case #21-1244    Document #1981187         Filed: 01/12/2023   Page 47 of 84



because of the statutory license. That does not satisfy the willing

buyer/willing seller standard.

      The CRB has previously recognized that a willing seller would not

sell below its opportunity cost. See SDARS III, 83 Fed. Reg. at 65,230;

Web IV, 81 Fed. Reg. at 26,366. And the CRB reiterated in the decision

below that opportunity cost measures what the copyright owners and

artists would be giving up by licensing to noninteractive webcasters: “The

opportunity cost of anything of value is what you must give up to get it.”

J.A. 1276 (slip op. 164 n.220) (quoting John Quiggin, Economics in Two

Lessons: Why Markets Work So Well, and Why They Can Fail So Badly

15 (2019)). The parties here explicitly agreed that opportunity cost sets a

floor for the statutory royalty rate. See J.A. 1435 (8/6/20 Tr. 683:23-25

(Willig)); J.A. 1467-68 (8/20/20 Tr. 3126:23-3127:8 (Shapiro)).

      To be sure, the CRB is also required to set a rate that a willing

buyer would accept. 17 U.S.C. § 114(f)(1)(B). But the requirement to set

a rate satisfactory to a willing seller is independent of that obligation.

See Intercollegiate Broad. Sys., Inc., 796 F.3d at 128 (“[T]he Board must

set a fee that both a willing buyer and a willing seller would negotiate,

not just one that is acceptable to the buyer . . . .”). If the rate is not one a



                                      34
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 48 of 84



willing seller would negotiate and accept for itself, then the rate is not

one that satisfies the governing statute. See id.; see also id. at 130 (noting

that it was reasonable to conclude that no “willing seller would agree to

a price that is substantially below its administrative costs” (quoting Web

III, 79 Fed. Reg. at 23,123)); cf. SoundExchange, Inc. v. Copyright Royalty

Bd., 904 F.3d 41, 56 (D.C. Cir. 2018) (noting that sellers cannot “be said

to be ‘willing’ partners to an agreement if they are coerced to agree to a

price” (quotation marks omitted)). Setting a rate so low that a seller

would receive less than it gives up is just such a coercive price. The CRB’s

rate determination was therefore contrary to law.

      Second, even if the CRB had flexibility to set a rate below

opportunity cost—and it did not—the CRB’s decision to set the rate at

$0.0021 per performance was arbitrary and capricious, because the CRB

not only chose a number below the opportunity cost it adopted, but it also

did so without any explanation for that departure from precedent and the

contrary record evidence. J.A. 1413 (slip op. 301).

      The CRB is not entitled to make a decision without providing a

rational explanation. The CRB had previously recognized that

opportunity cost sets the floor for what a willing seller would accept. The



                                     35
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 49 of 84



parties’ experts agreed with that principle. Yet the CRB, without

explanation, departed from that past practice and evidence, and set the

royalty rate below the opportunity cost figure it adopted.

      The CRB thus failed to articulate a “rational connection between

the facts found and the choice made.” State Farm, 463 U.S. at 43

(quotation marks omitted). That omission was particularly problematic

because it represented an unacknowledged change in course from the

CRB’s prior determinations. FCC v. Fox Television Stations, Inc., 556

U.S. 502, 513 (2009). This Court has repeatedly reversed agency

decisions that mark an unexplained—let alone an unacknowledged—

departure from prior practice. See, e.g., Nat’l Lifeline Ass’n, 921 F.3d at

1111-12 (faulting FCC for failing to “acknowledge [its] policy reversal” or

“provid[e] any reasoned explanation for its reversal”); Physicians for Soc.

Resp. v. Wheeler, 956 F.3d 634, 646 (D.C. Cir. 2020) (vague references to

prior policy “might have been sufficient to acknowledge EPA’s change in

policy,” but “failed to ‘provide a reasoned explanation for the change’”

(quoting Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221 (2016)).

      In short, the rate chosen by the CRB does not rationally relate to

the evidence before it, contradicts prior decisions, and is supported by no



                                    36
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 50 of 84



reasoning. It is therefore arbitrary and capricious. See 5 U.S.C. § 706.

This Court should, at minimum, reverse and remand with instructions to

set the rate no lower than $0.00233 per performance.

II.   It Was Legal Error for the CRB to Ignore Record Evidence
      That Opportunity Cost Was Higher Than It Found

      Not only did the CRB fail to set a rate at least equal to opportunity

cost, it also arbitrarily failed to consider record evidence that the

opportunity cost was higher than the analysis it adopted. The CRB’s error

in concluding that $0.00222 was the relevant opportunity cost was

twofold.

      1.   First, the CRB purported to rely on Professor Shapiro’s

testimony to find an opportunity cost for ad-supported noninteractive

services of $0.00222. But Professor Shapiro did not find that the relevant

opportunity cost was $0.00222. As shown in the very table from Professor

Shapiro’s written testimony that the CRB adopted in its Determination,

Professor Shapiro’s testimony was that the opportunity cost for ad-

supported noninteractive services was $0.00222 plus an additional

amount associated with diversion from the subscription noninteractive

services for which rates were also to be set in the proceeding below. See

J.A. 1312 (slip op. at 200) (adopting Figure 8 from Shapiro’s written


                                    37
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 51 of 84



rebuttal testimony, including note 1 thereto); see also J.A. 1751 (Shapiro

WRT at 50) (acknowledging the subtotal opportunity cost figures

reflected “Outside Distributors” only).

      The CRB failed to note or take into account that aspect of Professor

Shapiro’s testimony. The unrebutted record testimony was that such

diversion added $0.00011 to the opportunity cost total,8 meaning that

Professor Shapiro’s complete estimate yielded an opportunity cost of

$0.00233, not $0.00222—a difference of millions of dollars of royalties for

the hundreds of billions of streams at issue over the license term. It was

arbitrary and capricious for the CRB to find that total opportunity cost

was $0.00222 when the expert it relied upon for that figure acknowledged

that total opportunity cost was actually higher.

      2.   Second, the CRB failed to consider other unrebutted

testimony that Professor Shapiro’s opportunity cost estimate contained

an obvious computational flaw and needed to be adjusted upward.

Professor Willig testified without contradiction that Professor Shapiro


8 Compare J.A. 1791 (Willig CWDT at 23, Fig. 6) (calculating the
opportunity cost subtotal for outside distributors as $0.00273), with J.A.
1795 (Willig CWDT at 27, Fig. 9) (calculating the opportunity cost total
for all distributors as $0.00284); see also J.A. 1795 (Willig CDWT at 27
n.32) (explaining the difference between these figures).

                                    38
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 52 of 84



had understated the extent to which rightsholders would lose royalties

from CDs, vinyl, and digital downloads. J.A. 613-14 (8/5/20 Tr. 503:21-

504:8 (Willig)). See supra 18-19.

      The CRB rejected this testimony not on the merits, but solely on the

ground that the testimony supposedly had been excluded from the record.

J.A. 1304 (slip op. 192 n.263) (finding that Pandora’s counsel “prevented

Professor Willig from testifying on this topic before the recess” by raising

an objection and therefore that no “testimony regarding an alleged offset

as to Professor Shapiro’s physical opportunity cost correction . . . is in the

record.”).

      But Professor Willig’s testimony was admitted. After Professor

Willig described his proposed adjustment, Pandora’s counsel lodged a

prospective objection to the continuation of Professor Willig’s testimony

because, he stated, it was “on the verge of getting into a new analysis that

was conducted after the submission of [Professor Willig’s] written

rebuttal testimony, and . . . that’s out of bounds.” J.A. 613-15 (8/5/20 Tr.

503:14-505:18 (Willig)) (emphasis added). Pandora’s counsel thus was at

most seeking to preclude further testimony about Professor Willig’s




                                     39
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 53 of 84



adjustment, not asking to strike the testimony that had already been

given.

      In any event, the CRB never ruled on the objection, and Pandora’s

counsel then affirmatively withdrew it, stating: “I don’t object to the

testimony that’s been elicited. I think my objection was that I felt we were

going to get into more objectionable testimony.” J.A. 1431 (8/5/20 Tr.

515:14-17 (Willig)). Professor Willig’s discussion of the upward

adjustment clearly was in the record. It was arbitrary and capricious for

the CRB to fail to consider relevant evidence on the mistaken ground it

had not been admitted. And had that evidence—which the Services did

not dispute on the merits—been considered, it would have yielded a still

higher opportunity cost, and thus correspondingly set a higher floor for

the relevant statutory rate.

      3.   These errors require vacatur of the Determination’s rate for

ad-supported noninteractive services. A fundamental requirement of

administrative law is that an administrative body must consider all

relevant evidence before it. Stated in the opposite: an administrative

decision cannot “withstand review [if] the agency decisionmaker entirely

ignored relevant evidence.” Morall v. DEA., 412 F.3d 165, 178 (D.C. Cir.



                                    40
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 54 of 84



2005); see also El Rio Santa Cruz Neighborhood Health Ctr., Inc. v. U.S.

Dep’t of Health & Hum. Servs., 396 F.3d 1265, 1278 (D.C. Cir. 2005)

(agency action was arbitrary and capricious where it failed to address

relevant evidence); Robinson v. Nat’l Transp. Safety Bd., 28 F.3d 210,

214-15 (D.C. Cir. 1994). Thus, it was arbitrary and capricious for the CRB

to adopt Professor Shapiro’s opportunity cost calculation without

considering record evidence that the number should be higher.

      Because the CRB refused to consider relevant and uncontested

record evidence, this Court should vacate the Determination in relevant

part and remand with instructions to the CRB to set a rate for ad-

supported noninteractive services at least equal to opportunity cost,

taking account of the additional opportunity cost due to lost revenue

associated with subscription noninteractive services and the adjustment

testimony from Professor Willig.

                            CONCLUSION

      For the foregoing reasons, the decision of the CRB should be

vacated in relevant part and the matter remanded for further

consideration.




                                   41
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 55 of 84



Dated: January 12, 2023                  Respectfully submitted,

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                                   42
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 56 of 84



                 CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limitation of Fed. R. App.

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January 12, 2023                              /s/ Matthew S. Hellman
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                                    43
USCA Case #21-1244   Document #1981187      Filed: 01/12/2023   Page 57 of 84



                     CERTIFICATE OF SERVICE

      I hereby certify that on the 12th day of January, 2023, I caused to

be electronically filed the foregoing Final Opening Brief of Petitioner

SoundExchange, Inc. with the Clerk of the Court for the United States

Court of Appeals for the District of Columbia Circuit using the CM/ECF

system. I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the CM/ECF system.



January 12, 2023                             /s/ Matthew S. Hellman
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                                   44
USCA Case #21-1244   Document #1981187   Filed: 01/12/2023   Page 58 of 84




                     STATUTORY ADDENDUM
USCA Case #21-1244            Document #1981187                 Filed: 01/12/2023         Page 59 of 84



                                               INDEX

5 U.S.C. § 706 .................................................................................... S.A.-1

17 U.S.C. § 106 .................................................................................. S.A.-2

17 U.S.C. § 112(e) .............................................................................. S.A.-2

17 U.S.C. § 112(e)(3) .......................................................................... S.A.-3

17 U.S.C. § 114(d)(2) ......................................................................... S.A.-6

17 U.S.C. § 114(f)............................................................................. S.A.-11

17 U.S.C. § 114(j)(6)-(8) ................................................................... S.A.-16

17 U.S.C. § 801 ................................................................................ S.A.-17

17 U.S.C. § 803(a)(1)........................................................................ S.A.-23

17 U.S.C. § 803(d)(1) ....................................................................... S.A.-23

17 U.S.C. § 804(b)(3)(A)................................................................... S.A.-24

37 C.F.R. § 380.7 ............................................................................. S.A.-25
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 60 of 84



5 U.S.C. § 706

§ 706 Scope of review

To the extent necessary to decision and when presented, the reviewing
court shall decide all relevant questions of law, interpret constitutional
and statutory provisions, and determine the meaning or applicability of
the terms of an agency action. The reviewing court shall--

(1) compel agency action unlawfully withheld or unreasonably delayed;
and

(2) hold unlawful and set aside agency action, findings, and conclusions
found to be--

   (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
   accordance with law;

   (B) contrary to constitutional right, power, privilege, or immunity;

   (C) in excess of statutory jurisdiction, authority, or limitations, or
   short of statutory right;

   (D) without observance of procedure required by law;

   (E) unsupported by substantial evidence in a case subject to sections
   556 and 557 of this title or otherwise reviewed on the record of an
   agency hearing provided by statute; or

   (F) unwarranted by the facts to the extent that the facts are subject to
   trial de novo by the reviewing court.

In making the foregoing determinations, the court shall review the whole
record or those parts of it cited by a party, and due account shall be taken
of the rule of prejudicial error.




                                  S.A.-1
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 61 of 84



17 U.S.C. § 106

§ 106 Exclusive rights in copyrighted works

Subject to sections 107 through 122, the owner of copyright under this
title has the exclusive rights to do and to authorize any of the following:

(1) to reproduce the copyrighted work in copies or phonorecords;

(2) to prepare derivative works based upon the copyrighted work;

(3) to distribute copies or phonorecords of the copyrighted work to the
public by sale or other transfer of ownership, or by rental, lease, or
lending;

(4) in the case of literary, musical, dramatic, and choreographic works,
pantomimes, and motion pictures and other audiovisual works, to
perform the copyrighted work publicly;

(5) in the case of literary, musical, dramatic, and choreographic works,
pantomimes, and pictorial, graphic, or sculptural works, including the
individual images of a motion picture or other audiovisual work, to
display the copyrighted work publicly; and

(6) in the case of sound recordings, to perform the copyrighted work
publicly by means of a digital audio transmission.



17 U.S.C. § 112

§ 112 Limitations on exclusive rights: Ephemeral recordings

                                   ****

(e) Statutory license.--(1) A transmitting organization entitled to
transmit to the public a performance of a sound recording under the
limitation on exclusive rights specified by section 114(d)(1)(C)(iv) or
under a statutory license in accordance with section 114(f) is entitled to
a statutory license, under the conditions specified by this subsection, to
make no more than 1 phonorecord of the sound recording (unless the



                                  S.A.-2
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 62 of 84



terms and conditions of the statutory license allow for more), if the
following conditions are satisfied:

      (A) The phonorecord is retained and used solely by the transmitting
      organization that made it, and no further phonorecords are
      reproduced from it.

      (B) The phonorecord is used solely for the transmitting
      organization’s own transmissions originating in the United States
      under a statutory license in accordance with section 114(f) or the
      limitation on exclusive rights specified by section 114(d)(1)(C)(iv).

      (C) Unless preserved exclusively for purposes of archival
      preservation, the phonorecord is destroyed within 6 months from
      the date the sound recording was first transmitted to the public
      using the phonorecord.

      (D) Phonorecords of the sound recording have been distributed to
      the public under the authority of the copyright owner or the
      copyright owner authorizes the transmitting entity to transmit the
      sound recording, and the transmitting entity makes the
      phonorecord under this subsection from a phonorecord lawfully
      made and acquired under the authority of the copyright owner.

   (2) Notwithstanding any provision of the antitrust laws, any copyright
   owners of sound recordings and any transmitting organizations
   entitled to a statutory license under this subsection may negotiate and
   agree upon royalty rates and license terms and conditions for making
   phonorecords of such sound recordings under this section and the
   proportionate division of fees paid among copyright owners, and may
   designate common agents to negotiate, agree to, pay, or receive such
   royalty payments.

   (3) Proceedings under chapter 8 shall determine reasonable rates and
   terms of royalty payments for the activities specified by paragraph (1)
   during the 5-year period beginning on January 1 of the second year
   following the year in which the proceedings are to be commenced, or
   such other period as the parties may agree. Such rates shall include a
   minimum fee for each type of service offered by transmitting
   organizations. Any copyright owners of sound recordings or any

                                  S.A.-3
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 63 of 84



   transmitting organizations entitled to a statutory license under this
   subsection may submit to the Copyright Royalty Judges licenses
   covering such activities with respect to such sound recordings. The
   parties to each proceeding shall bear their own costs.

   (4) The schedule of reasonable rates and terms determined by the
   Copyright Royalty Judges shall, subject to paragraph (5), be binding
   on all copyright owners of sound recordings and transmitting
   organizations entitled to a statutory license under this subsection
   during the 5-year period specified in paragraph (3), or such other
   period as the parties may agree. Such rates shall include a minimum
   fee for each type of service offered by transmitting organizations. The
   Copyright Royalty Judges shall establish rates that most clearly
   represent the fees that would have been negotiated in the marketplace
   between a willing buyer and a willing seller. In determining such rates
   and terms, the Copyright Royalty Judges shall base their decision on
   economic, competitive, and programming information presented by
   the parties, including--

      (A) whether use of the service may substitute for or may promote
      the sales of phonorecords or otherwise interferes with or enhances
      the copyright owner’s traditional streams of revenue; and

      (B) the relative roles of the copyright owner and the transmitting
      organization in the copyrighted work and the service made
      available to the public with respect to relative creative contribution,
      technological contribution, capital investment, cost, and risk.

   In establishing such rates and terms, the Copyright Royalty Judges
   may consider the rates and terms under voluntary license agreements
   described in paragraphs (2) and (3). The Copyright Royalty Judges
   shall also establish requirements by which copyright owners may
   receive reasonable notice of the use of their sound recordings under
   this section, and under which records of such use shall be kept and
   made available by transmitting organizations entitled to obtain a
   statutory license under this subsection.

   (5) License agreements voluntarily negotiated at any time between 1
   or more copyright owners of sound recordings and 1 or more


                                   S.A.-4
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 64 of 84



   transmitting organizations entitled to obtain a statutory license under
   this subsection shall be given effect in lieu of any decision by the
   Librarian of Congress or determination by the Copyright Royalty
   Judges.

   (6)(A) Any person who wishes to make a phonorecord of a sound
   recording under a statutory license in accordance with this subsection
   may do so without infringing the exclusive right of the copyright owner
   of the sound recording under section 106(1)--

        (i) by complying with such notice requirements as the Copyright
        Royalty Judges shall prescribe by regulation and by paying
        royalty fees in accordance with this subsection; or

        (ii) if such royalty fees have not been set, by agreeing to pay such
        royalty fees as shall be determined in accordance with this
        subsection.

      (B) Any royalty payments in arrears shall be made on or before the
      20th day of the month next succeeding the month in which the
      royalty fees are set.

   (7) If a transmitting organization entitled to make a phonorecord
   under this subsection is prevented from making such phonorecord by
   reason of the application by the copyright owner of technical measures
   that prevent the reproduction of the sound recording, the copyright
   owner shall make available to the transmitting organization the
   necessary means for permitting the making of such phonorecord as
   permitted under this subsection, if it is technologically feasible and
   economically reasonable for the copyright owner to do so. If the
   copyright owner fails to do so in a timely manner in light of the
   transmitting organization’s reasonable business requirements, the
   transmitting organization shall not be liable for a violation of section
   1201(a)(1) of this title for engaging in such activities as are necessary
   to make such phonorecords as permitted under this subsection.

   (8) Nothing in this subsection annuls, limits, impairs, or otherwise
   affects in any way the existence or value of any of the exclusive rights
   of the copyright owners in a sound recording, except as otherwise
   provided in this subsection, or in a musical work, including the

                                  S.A.-5
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 65 of 84



   exclusive rights to reproduce and distribute a sound recording or
   musical work, including by means of a digital phonorecord delivery,
   under sections 106(1), 106(3), and 115, and the right to perform
   publicly a sound recording or musical work, including by means of a
   digital audio transmission, under sections 106(4) and 106(6).

                                    ****



17 U.S.C. § 114

§ 114 Scope of exclusive rights in sound recordings

                                    ****

(d) Limitations on exclusive right.--Notwithstanding the provisions of
section 106(6)--

                                    ****

   (2) Statutory licensing of certain transmissions.--The performance of
   a sound recording publicly by means of a subscription digital audio
   transmission not exempt under paragraph (1), an eligible
   nonsubscription transmission, or a transmission not exempt under
   paragraph (1) that is made by a preexisting satellite digital audio radio
   service shall be subject to statutory licensing, in accordance with
   subsection (f) if--

      (A)(i) the transmission is not part of an interactive service;

        (ii) except in the case of a transmission to a business
        establishment, the transmitting entity does not automatically
        and intentionally cause any device receiving the transmission to
        switch from one program channel to another; and

        (iii) except as provided in section 1002(e), the transmission of the
        sound recording is accompanied, if technically feasible, by the
        information encoded in that sound recording, if any, by or under
        the authority of the copyright owner of that sound recording,
        that identifies the title of the sound recording, the featured


                                   S.A.-6
USCA Case #21-1244    Document #1981187        Filed: 01/12/2023   Page 66 of 84



        recording artist who performs on the sound recording, and
        related information, including information concerning the
        underlying musical work and its writer;

      (B) in the case of a subscription transmission not exempt under
      paragraph (1) that is made by a preexisting subscription service in
      the same transmission medium used by such service on July 31,
      1998, or in the case of a transmission not exempt under paragraph
      (1) that is made by a preexisting satellite digital audio radio service-
      -

        (i) the transmission does not exceed the sound recording
        performance complement; and

        (ii) the transmitting entity does not cause to be published by
        means of an advance program schedule or prior announcement
        the titles of the specific sound recordings or phonorecords
        embodying such sound recordings to be transmitted; and

      (C) in the case of an eligible nonsubscription transmission or a
      subscription transmission not exempt under paragraph (1) that is
      made by a new subscription service or by a preexisting subscription
      service other than in the same transmission medium used by such
      service on July 31, 1998--

        (i) the transmission does not exceed the sound recording
        performance complement, except that this requirement shall not
        apply in the case of a retransmission of a broadcast transmission
        if the retransmission is made by a transmitting entity that does
        not have the right or ability to control the programming of the
        broadcast station making the broadcast transmission, unless--

           (I) the broadcast station makes broadcast transmissions--

              (aa) in digital format that regularly exceed the sound
              recording performance complement; or

              (bb) in analog format, a substantial portion of which, on a
              weekly basis, exceed the sound recording performance
              complement; and


                                   S.A.-7
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 67 of 84



           (II) the sound recording copyright owner or its representative
           has notified the transmitting entity in writing that broadcast
           transmissions of the copyright owner’s sound recordings
           exceed the sound recording performance complement as
           provided in this clause;

        (ii) the transmitting entity does not cause to be published, or
        induce or facilitate the publication, by means of an advance
        program schedule or prior announcement, the titles of the
        specific sound recordings to be transmitted, the phonorecords
        embodying such sound recordings, or, other than for illustrative
        purposes, the names of the featured recording artists, except
        that this clause does not disqualify a transmitting entity that
        makes a prior announcement that a particular artist will be
        featured within an unspecified future time period, and in the
        case of a retransmission of a broadcast transmission by a
        transmitting entity that does not have the right or ability to
        control the programming of the broadcast transmission, the
        requirement of this clause shall not apply to a prior oral
        announcement by the broadcast station, or to an advance
        program schedule published, induced, or facilitated by the
        broadcast station, if the transmitting entity does not have actual
        knowledge and has not received written notice from the
        copyright owner or its representative that the broadcast station
        publishes or induces or facilitates the publication of such
        advance program schedule, or if such advance program schedule
        is a schedule of classical music programming published by the
        broadcast station in the same manner as published by that
        broadcast station on or before September 30, 1998;

        (iii) the transmission--

           (I) is not part of an archived program of less than 5 hours
           duration;

           (II) is not part of an archived program of 5 hours or greater in
           duration that is made available for a period exceeding 2
           weeks;



                                   S.A.-8
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 68 of 84



           (III) is not part of a continuous program which is of less than
           3 hours duration; or

           (IV) is not part of an identifiable program in which
           performances of sound recordings are rendered in a
           predetermined order, other than an archived or continuous
           program, that is transmitted at--

              (aa) more than 3 times in any 2-week period that have been
              publicly announced in advance, in the case of a program of
              less than 1 hour in duration, or

              (bb) more than 4 times in any 2-week period that have been
              publicly announced in advance, in the case of a program of
              1 hour or more in duration,

        except that the requirement of this subclause shall not apply in
        the case of a retransmission of a broadcast transmission by a
        transmitting entity that does not have the right or ability to
        control the programming of the broadcast transmission, unless
        the transmitting entity is given notice in writing by the copyright
        owner of the sound recording that the broadcast station makes
        broadcast transmissions that regularly violate such
        requirement;

        (iv) the transmitting entity does not knowingly perform the
        sound recording, as part of a service that offers transmissions of
        visual images contemporaneously with transmissions of sound
        recordings, in a manner that is likely to cause confusion, to cause
        mistake, or to deceive, as to the affiliation, connection, or
        association of the copyright owner or featured recording artist
        with the transmitting entity or a particular product or service
        advertised by the transmitting entity, or as to the origin,
        sponsorship, or approval by the copyright owner or featured
        recording artist of the activities of the transmitting entity other
        than the performance of the sound recording itself;

        (v) the transmitting entity cooperates to prevent, to the extent
        feasible without imposing substantial costs or burdens, a
        transmission recipient or any other person or entity from

                                 S.A.-9
USCA Case #21-1244   Document #1981187      Filed: 01/12/2023   Page 69 of 84



        automatically scanning the transmitting entity’s transmissions
        alone or together with transmissions by other transmitting
        entities in order to select a particular sound recording to be
        transmitted to the transmission recipient, except that the
        requirement of this clause shall not apply to a satellite digital
        audio service that is in operation, or that is licensed by the
        Federal Communications Commission, on or before July 31,
        1998;

        (vi) the transmitting entity takes no affirmative steps to cause
        or induce the making of a phonorecord by the transmission
        recipient, and if the technology used by the transmitting entity
        enables the transmitting entity to limit the making by the
        transmission recipient of phonorecords of the transmission
        directly in a digital format, the transmitting entity sets such
        technology to limit such making of phonorecords to the extent
        permitted by such technology;

        (vii) phonorecords of the sound recording have been distributed
        to the public under the authority of the copyright owner or the
        copyright owner authorizes the transmitting entity to transmit
        the sound recording, and the transmitting entity makes the
        transmission from a phonorecord lawfully made under the
        authority of the copyright owner, except that the requirement of
        this clause shall not apply to a retransmission of a broadcast
        transmission by a transmitting entity that does not have the
        right or ability to control the programming of the broadcast
        transmission, unless the transmitting entity is given notice in
        writing by the copyright owner of the sound recording that the
        broadcast station makes broadcast transmissions that regularly
        violate such requirement;

        (viii) the transmitting entity accommodates and does not
        interfere with the transmission of technical measures that are
        widely used by sound recording copyright owners to identify or
        protect copyrighted works, and that are technically feasible of
        being transmitted by the transmitting entity without imposing
        substantial costs on the transmitting entity or resulting in
        perceptible aural or visual degradation of the digital signal,


                                S.A.-10
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 70 of 84



        except that the requirement of this clause shall not apply to a
        satellite digital audio service that is in operation, or that is
        licensed under the authority of the Federal Communications
        Commission, on or before July 31, 1998, to the extent that such
        service has designed, developed, or made commitments to
        procure equipment or technology that is not compatible with
        such technical measures before such technical measures are
        widely adopted by sound recording copyright owners; and

        (ix) the transmitting entity identifies in textual data the sound
        recording during, but not before, the time it is performed,
        including the title of the sound recording, the title of the
        phonorecord embodying such sound recording, if any, and the
        featured recording artist, in a manner to permit it to be displayed
        to the transmission recipient by the device or technology
        intended for receiving the service provided by the transmitting
        entity, except that the obligation in this clause shall not take
        effect until 1 year after the date of the enactment of the Digital
        Millennium Copyright Act and shall not apply in the case of a
        retransmission of a broadcast transmission by a transmitting
        entity that does not have the right or ability to control the
        programming of the broadcast transmission, or in the case in
        which devices or technology intended for receiving the service
        provided by the transmitting entity that have the capability to
        display such textual data are not common in the marketplace.

                                  ****

(f) Licenses for certain nonexempt transmissions.--

   (1)(A) Proceedings under chapter 8 shall determine reasonable rates
   and terms of royalty payments for transmissions subject to statutory
   licensing under subsection (d)(2) during the 5-year period beginning
   on January 1 of the second year following the year in which the
   proceedings are to be commenced pursuant to subparagraph (A) or (B)
   of section 804(b)(3), as the case may be, or such other period as the
   parties may agree. The parties to each proceeding shall bear their own
   costs.



                                 S.A.-11
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 71 of 84



      (B) The schedule of reasonable rates and terms determined by the
      Copyright Royalty Judges shall, subject to paragraph (2), be
      binding on all copyright owners of sound recordings and entities
      performing sound recordings affected by this paragraph during the
      5-year period specified in subparagraph (A), or such other period as
      the parties may agree. Such rates and terms shall distinguish
      among the different types of services then in operation and shall
      include a minimum fee for each such type of service, such
      differences to be based on criteria including the quantity and
      nature of the use of sound recordings and the degree to which use
      of the service may substitute for or may promote the purchase of
      phonorecords by consumers. The Copyright Royalty Judges shall
      establish rates and terms that most clearly represent the rates and
      terms that would have been negotiated in the marketplace between
      a willing buyer and a willing seller. In determining such rates and
      terms, the Copyright Royalty Judges--

        (i) shall base their decision on economic, competitive, and
        programming information presented by the parties, including--

           (I) whether use of the service may substitute for or may
           promote the sales of phonorecords or otherwise may interfere
           with or may enhance the sound recording copyright owner’s
           other streams of revenue from the copyright owner’s sound
           recordings; and

           (II) the relative roles of the copyright owner and the
           transmitting entity in the copyrighted work and the service
           made available to the public with respect to relative creative
           contribution, technological contribution, capital investment,
           cost, and risk; and

        (ii) may consider the rates and terms for comparable types of
        audio transmission services and comparable circumstances
        under voluntary license agreements.

      (C) The procedures under subparagraphs (A) and (B) shall also be
      initiated pursuant to a petition filed by any sound recording
      copyright owner or any transmitting entity indicating that a new


                                 S.A.-12
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 72 of 84



      type of service on which sound recordings are performed is or is
      about to become operational, for the purpose of determining
      reasonable terms and rates of royalty payments with respect to
      such new type of service for the period beginning with the inception
      of such new type of service and ending on the date on which the
      royalty rates and terms for eligible nonsubscription services and
      new subscription services, or preexisting subscription services and
      preexisting satellite digital audio radio services, as the case may be,
      most recently determined under subparagraph (A) or (B) and
      chapter 8 expire, or such other period as the parties may agree.

   (2) License agreements voluntarily negotiated at any time between 1
   or more copyright owners of sound recordings and 1 or more entities
   performing sound recordings shall be given effect in lieu of any
   decision by the Librarian of Congress or determination by the
   Copyright Royalty Judges.

   (3)(A) The Copyright Royalty Judges shall also establish requirements
   by which copyright owners may receive reasonable notice of the use of
   their sound recordings under this section, and under which records of
   such use shall be kept and made available by entities performing
   sound recordings. The notice and recordkeeping rules in effect on the
   day before the effective date of the Copyright Royalty and Distribution
   Reform Act of 2004 shall remain in effect unless and until new
   regulations are promulgated by the Copyright Royalty Judges. If new
   regulations are promulgated under this subparagraph, the Copyright
   Royalty Judges shall take into account the substance and effect of the
   rules in effect on the day before the effective date of the Copyright
   Royalty and Distribution Reform Act of 2004 and shall, to the extent
   practicable, avoid significant disruption of the functions of any
   designated agent authorized to collect and distribute royalty fees.

      (B) Any person who wishes to perform a sound recording publicly
      by means of a transmission eligible for statutory licensing under
      this subsection may do so without infringing the exclusive right of
      the copyright owner of the sound recording--




                                  S.A.-13
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 73 of 84



        (i) by complying with such notice requirements as the Copyright
        Royalty Judges shall prescribe by regulation and by paying
        royalty fees in accordance with this subsection; or

        (ii) if such royalty fees have not been set, by agreeing to pay such
        royalty fees as shall be determined in accordance with this
        subsection.

      (C) Any royalty payments in arrears shall be made on or before the
      twentieth day of the month next succeeding the month in which the
      royalty fees are set.

   (4)(A) Notwithstanding section 112(e) and the other provisions of this
   subsection, the receiving agent may enter into agreements for the
   reproduction and performance of sound recordings under section
   112(e) and this section by any 1 or more commercial webcasters or
   noncommercial webcasters for a period of not more than 11 years
   beginning on January 1, 2005, that, once published in the Federal
   Register pursuant to subparagraph (B), shall be binding on all
   copyright owners of sound recordings and other persons entitled to
   payment under this section, in lieu of any determination by the
   Copyright Royalty Judges. Any such agreement for commercial
   webcasters may include provisions for payment of royalties on the
   basis of a percentage of revenue or expenses, or both, and include a
   minimum fee. Any such agreement may include other terms and
   conditions, including requirements by which copyright owners may
   receive notice of the use of their sound recordings and under which
   records of such use shall be kept and made available by commercial
   webcasters or noncommercial webcasters. The receiving agent shall be
   under no obligation to negotiate any such agreement. The receiving
   agent shall have no obligation to any copyright owner of sound
   recordings or any other person entitled to payment under this section
   in negotiating any such agreement, and no liability to any copyright
   owner of sound recordings or any other person entitled to payment
   under this section for having entered into such agreement.

      (B) The Copyright Office shall cause to be published in the Federal
      Register any agreement entered into pursuant to subparagraph (A).
      Such publication shall include a statement containing the


                                 S.A.-14
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 74 of 84



      substance of subparagraph (C). Such agreements shall not be
      included in the Code of Federal Regulations. Thereafter, the terms
      of such agreement shall be available, as an option, to any
      commercial webcaster or noncommercial webcaster meeting the
      eligibility conditions of such agreement.

      (C) Neither subparagraph (A) nor any provisions of any agreement
      entered into pursuant to subparagraph (A), including any rate
      structure, fees, terms, conditions, or notice and recordkeeping
      requirements set forth therein, shall be admissible as evidence or
      otherwise taken into account in any administrative, judicial, or
      other government proceeding involving the setting or adjustment of
      the royalties payable for the public performance or reproduction in
      ephemeral phonorecords or copies of sound recordings, the
      determination of terms or conditions related thereto, or the
      establishment of notice or recordkeeping requirements by the
      Copyright Royalty Judges under paragraph (3) or section 112(e)(4).
      It is the intent of Congress that any royalty rates, rate structure,
      definitions, terms, conditions, or notice and recordkeeping
      requirements, included in such agreements shall be considered as
      a compromise motivated by the unique business, economic and
      political circumstances of webcasters, copyright owners, and
      performers rather than as matters that would have been negotiated
      in the marketplace between a willing buyer and a willing seller, or
      otherwise meet the objectives set forth in section 801(b). This
      subparagraph shall not apply to the extent that the receiving agent
      and a webcaster that is party to an agreement entered into
      pursuant to subparagraph (A) expressly authorize the submission
      of the agreement in a proceeding under this subsection.

      (D) Nothing in the Webcaster Settlement Act of 2008, the
      Webcaster Settlement Act of 2009, or any agreement entered into
      pursuant to subparagraph (A) shall be taken into account by the
      United States Court of Appeals for the District of Columbia Circuit
      in its review of the determination by the Copyright Royalty Judges
      of May 1, 2007, of rates and terms for the digital performance of
      sound recordings and ephemeral recordings, pursuant to sections
      112 and 114.1


                                 S.A.-15
USCA Case #21-1244   Document #1981187      Filed: 01/12/2023   Page 75 of 84



      (E) As used in this paragraph--

        (i) the term “noncommercial webcaster” means a webcaster that-
        -

           (I) is exempt from taxation under section 501 of the Internal
           Revenue Code of 1986 (26 U.S.C. 501);

           (II) has applied in good faith to the Internal Revenue Service
           for exemption from taxation under section 501 of the Internal
           Revenue Code and has a commercially reasonable expectation
           that such exemption shall be granted; or

           (III) is operated by a State or possession or any governmental
           entity or subordinate thereof, or by the United States or
           District of Columbia, for exclusively public purposes;

        (ii) the term “receiving agent” shall have the meaning given that
        term in section 261.2 of title 37, Code of Federal Regulations, as
        published in the Federal Register on July 8, 2002; and

        (iii) the term “webcaster” means a person or entity that has
        obtained a compulsory license under section 112 or 1142 and the
        implementing regulations therefor.

      (F) The authority to make settlements pursuant to subparagraph
      (A) shall expire at 11:59 p.m. Eastern time on the 30th day after
      the date of the enactment of the Webcaster Settlement Act of 2009.

[(5) Redesignated (4)]

                                  ****

(j) Definitions.--As used in this section, the following terms have the
following meanings:

                                  ****

      (6) An “eligible nonsubscription transmission” is a noninteractive
      nonsubscription digital audio transmission not exempt under
      subsection (d)(1) that is made as part of a service that provides


                                S.A.-16
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 76 of 84



      audio programming consisting, in whole or in part, of performances
      of sound recordings, including retransmissions of broadcast
      transmissions, if the primary purpose of the service is to provide to
      the public such audio or other entertainment programming, and the
      primary purpose of the service is not to sell, advertise, or promote
      particular products or services other than sound recordings, live
      concerts, or other music-related events.

      (7) An “interactive service” is one that enables a member of the
      public to receive a transmission of a program specially created for
      the recipient, or on request, a transmission of a particular sound
      recording, whether or not as part of a program, which is selected by
      or on behalf of the recipient. The ability of individuals to request
      that particular sound recordings be performed for reception by the
      public at large, or in the case of a subscription service, by all
      subscribers of the service, does not make a service interactive, if the
      programming on each channel of the service does not substantially
      consist of sound recordings that are performed within 1 hour of the
      request or at a time designated by either the transmitting entity or
      the individual making such request. If an entity offers both
      interactive and noninteractive services (either concurrently or at
      different times), the noninteractive component shall not be treated
      as part of an interactive service.

      (8) A “new subscription service” is a service that performs sound
      recordings by means of noninteractive subscription digital audio
      transmissions and that is not a preexisting subscription service or
      a preexisting satellite digital audio radio service.

                                    ****



17 U.S.C. § 801

§ 801 Copyright Royalty Judges; appointment and functions

(a) Appointment.--The Librarian of Congress shall appoint 3 full-time
Copyright Royalty Judges, and shall appoint 1 of the 3 as the Chief



                                  S.A.-17
USCA Case #21-1244   Document #1981187       Filed: 01/12/2023   Page 77 of 84



Copyright Royalty Judge. The Librarian shall make appointments to
such positions after consultation with the Register of Copyrights.

(b) Functions.--Subject to the provisions of this chapter, the functions of
the Copyright Royalty Judges shall be as follows:

   (1) To make determinations and adjustments of reasonable terms and
   rates of royalty payments as provided in sections 112(e), 114, 115, 116,
   118, 119, and 1004.

   (2) To make determinations concerning the adjustment of the
   copyright royalty rates under section 111 solely in accordance with the
   following provisions:

      (A) The rates established by section 111(d)(1)(B) may be adjusted to
      reflect--

        (i) national monetary inflation or deflation; or

        (ii) changes in the average rates charged cable subscribers for
        the basic service of providing secondary transmissions to
        maintain the real constant dollar level of the royalty fee per
        subscriber which existed as of the date of October 19, 1976,

        except that--

           (I) if the average rates charged cable system subscribers for
           the basic service of providing secondary transmissions are
           changed so that the average rates exceed national monetary
           inflation, no change in the rates established by section
           111(d)(1)(B) shall be permitted; and

           (II) no increase in the royalty fee shall be permitted based on
           any reduction in the average number of distant signal
           equivalents per subscriber.

The Copyright Royalty Judges may consider all factors relating to the
maintenance of such level of payments, including, as an extenuating
factor, whether the industry has been restrained by subscriber rate
regulating authorities from increasing the rates for the basic service of
providing secondary transmissions.


                                 S.A.-18
USCA Case #21-1244   Document #1981187         Filed: 01/12/2023   Page 78 of 84



      (B) In the event that the rules and regulations of the Federal
      Communications Commission are amended at any time after April
      15, 1976, to permit the carriage by cable systems of additional
      television broadcast signals beyond the local service area of the
      primary transmitters of such signals, the royalty rates established
      by section 111(d)(1)(B) may be adjusted to ensure that the rates for
      the additional distant signal equivalents resulting from such
      carriage are reasonable in the light of the changes effected by the
      amendment to such rules and regulations. In determining the
      reasonableness of rates proposed following an amendment of
      Federal Communications Commission rules and regulations, the
      Copyright Royalty Judges shall consider, among other factors, the
      economic impact on copyright owners and users; except that no
      adjustment in royalty rates shall be made under this subparagraph
      with respect to any distant signal equivalent or fraction thereof
      represented by--

        (i) carriage of any signal permitted under the rules and
        regulations of the Federal Communications Commission in effect
        on April 15, 1976, or the carriage of a signal of the same type
        (that is, independent, network, or noncommercial educational)
        substituted for such permitted signal; or

        (ii) a television broadcast signal first carried after April 15, 1976,
        pursuant to an individual waiver of the rules and regulations of
        the Federal Communications Commission, as such rules and
        regulations were in effect on April 15, 1976.

      (C) In the event of any change in the rules and regulations of the
      Federal Communications Commission with respect to syndicated
      and sports program exclusivity after April 15, 1976, the rates
      established by section 111(d)(1)(B) may be adjusted to assure that
      such rates are reasonable in light of the changes to such rules and
      regulations, but any such adjustment shall apply only to the
      affected television broadcast signals carried on those systems
      affected by the change.

      (D) The gross receipts limitations established by section
      111(d)(1)(C) and (D) shall be adjusted to reflect national monetary


                                  S.A.-19
USCA Case #21-1244   Document #1981187           Filed: 01/12/2023   Page 79 of 84



      inflation or deflation or changes in the average rates charged cable
      system subscribers for the basic service of providing secondary
      transmissions to maintain the real constant dollar value of the
      exemption provided by such section, and the royalty rate specified
      therein shall not be subject to adjustment.

   (3)(A) To authorize the distribution, under sections 111, 119, and 1007,
   of those royalty fees collected under sections 111, 119, and 1005, as the
   case may be, to the extent that the Copyright Royalty Judges have
   found that the distribution of such fees is not subject to controversy.

      (B) In cases where the Copyright Royalty Judges determine that
      controversy exists, the Copyright Royalty Judges shall determine
      the distribution of such fees, including partial distributions, in
      accordance with section 111, 119, or 1007, as the case may be.

      (C) Notwithstanding section 804(b)(8), the Copyright Royalty
      Judges, at any time after the filing of claims under section 111, 119,
      or 1007, may, upon motion of one or more of the claimants and after
      publication in the Federal Register of a request for responses to the
      motion from interested claimants, make a partial distribution of
      such fees, if, based upon all responses received during the 30-day
      period beginning on the date of such publication, the Copyright
      Royalty Judges conclude that no claimant entitled to receive such
      fees has stated a reasonable objection to the partial distribution,
      and all such claimants--

        (i) agree to the partial distribution;

        (ii) sign an agreement obligating them to return any excess
        amounts to the extent necessary to comply with the final
        determination on the distribution of the fees made under
        subparagraph (B);

        (iii) file the agreement with the Copyright Royalty Judges; and

        (iv) agree that such funds are available for distribution.

      (D) The Copyright Royalty Judges and any other officer or employee
      acting in good faith in distributing funds under subparagraph (C)


                                  S.A.-20
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 80 of 84



      shall not be held liable for the payment of any excess fees under
      subparagraph (C). The Copyright Royalty Judges shall, at the time
      the final determination is made, calculate any such excess amounts.

   (4) To accept or reject royalty claims filed under sections 111, 119, and
   1007, on the basis of timeliness or the failure to establish the basis for
   a claim.

   (5) To accept or reject rate adjustment petitions as provided in section
   804 and petitions to participate as provided in section 803(b)(1) and
   (2).

   (6) To determine the status of a digital audio recording device or a
   digital audio interface device under sections 1002 and 1003, as
   provided in section 1010.

   (7)(A) To adopt as a basis for statutory terms and rates or as a basis
   for the distribution of statutory royalty payments, an agreement
   concerning such matters reached among some or all of the participants
   in a proceeding at any time during the proceeding, except that--

        (i) the Copyright Royalty Judges shall provide to those that
        would be bound by the terms, rates, or other determination set
        by any agreement in a proceeding to determine royalty rates an
        opportunity to comment on the agreement and shall provide to
        participants in the proceeding under section 803(b)(2) that would
        be bound by the terms, rates, or other determination set by the
        agreement an opportunity to comment on the agreement and
        object to its adoption as a basis for statutory terms and rates;
        and

        (ii) the Copyright Royalty Judges may decline to adopt the
        agreement as a basis for statutory terms and rates for
        participants that are not parties to the agreement, if any
        participant described in clause (i) objects to the agreement and
        the Copyright Royalty Judges conclude, based on the record
        before them if one exists, that the agreement does not provide a
        reasonable basis for setting statutory terms or rates.




                                  S.A.-21
USCA Case #21-1244    Document #1981187       Filed: 01/12/2023   Page 81 of 84



      (B) License agreements voluntarily negotiated pursuant to section
      112(e)(5), 114(f)(2), 115(c)(3)(E)(i), 116(c), or 118(b)(2) that do not
      result in statutory terms and rates shall not be subject to clauses
      (i) and (ii) of subparagraph (A).

      (C) Interested parties may negotiate and agree to, and the
      Copyright Royalty Judges may adopt, an agreement that specifies
      as terms notice and recordkeeping requirements that apply in lieu
      of those that would otherwise apply under regulations.

   (8) To determine the administrative assessment to be paid by digital
   music providers under section 115(d). The provisions of section 115(d)
   shall apply to the conduct of proceedings by the Copyright Royalty
   Judges under section 115(d) and not the procedures described in this
   section, or section 803, 804, or 805.

   (9) To perform other duties, as assigned by the Register of Copyrights
   within the Library of Congress, except as provided in section 802(g),
   at times when Copyright Royalty Judges are not engaged in
   performing the other duties set forth in this section.

(c) Rulings.--The Copyright Royalty Judges may make any necessary
procedural or evidentiary rulings in any proceeding under this chapter
and may, before commencing a proceeding under this chapter, make any
such rulings that would apply to the proceedings conducted by the
Copyright Royalty Judges.

(d) Administrative support.--The Librarian of Congress shall provide the
Copyright Royalty Judges with the necessary administrative services
related to proceedings under this chapter.

(e) Location in Library of Congress.--The offices of the Copyright Royalty
Judges and staff shall be in the Library of Congress.

(f) Effective date of actions.--On and after the date of the enactment of
the Copyright Royalty and Distribution Reform Act of 2004, in any case
in which time limits are prescribed under this title for performance of an
action with or by the Copyright Royalty Judges, and in which the last day
of the prescribed period falls on a Saturday, Sunday, holiday, or other
nonbusiness day within the District of Columbia or the Federal


                                  S.A.-22
USCA Case #21-1244       Document #1981187    Filed: 01/12/2023   Page 82 of 84



Government, the action may be taken on the next succeeding business
day, and is effective as of the date when the period expired.



17 U.S.C.A. § 803

§ 803 Proceedings of Copyright Royalty Judges

(a) Proceedings.--

   (1) In general.--The Copyright Royalty Judges shall act in accordance
   with this title, and to the extent not inconsistent with this title, in
   accordance with subchapter II of chapter 5 of title 5, in carrying out
   the purposes set forth in section 801. The Copyright Royalty Judges
   shall act in accordance with regulations issued by the Copyright
   Royalty Judges and the Librarian of Congress, and on the basis of a
   written record, prior determinations and interpretations of the
   Copyright Royalty Tribunal, Librarian of Congress, the Register of
   Copyrights, copyright arbitration royalty panels (to the extent those
   determinations are not inconsistent with a decision of the Librarian of
   Congress or the Register of Copyrights), and the Copyright Royalty
   Judges (to the extent those determinations are not inconsistent with
   a decision of the Register of Copyrights that was timely delivered to
   the Copyright Royalty Judges pursuant to section 802(f)(1)(A) or (B),
   or with a decision of the Register of Copyrights pursuant to section
   802(f)(1)(D)), under this chapter, and decisions of the court of appeals
   under this chapter before, on, or after the effective date of the
   Copyright Royalty and Distribution Reform Act of 2004.

                                      ****

(d) Judicial review.--

   (1) Appeal.--Any determination of the Copyright Royalty Judges under
   subsection (c) may, within 30 days after the publication of the
   determination in the Federal Register, be appealed, to the United
   States Court of Appeals for the District of Columbia Circuit, by any
   aggrieved participant in the proceeding under subsection (b)(2) who
   fully participated in the proceeding and who would be bound by the


                                    S.A.-23
USCA Case #21-1244   Document #1981187        Filed: 01/12/2023   Page 83 of 84



   determination. Any participant that did not participate in a rehearing
   may not raise any issue that was the subject of that rehearing at any
   stage of judicial review of the hearing determination. If no appeal is
   brought within that 30-day period, the determination of the Copyright
   Royalty Judges shall be final, and the royalty fee or determination
   with respect to the distribution of fees, as the case may be, shall take
   effect as set forth in paragraph (2).

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17 U.S.C. § 804

§ 804 Institution of proceedings

                                    ****

(b) Timing of proceedings.--

                                    ****

   (3) Section 114 and corresponding 112 proceedings.--

      (A) For eligible nonsubscription services and new subscription
      services.--Proceedings under this chapter shall be commenced as
      soon as practicable after the date of enactment of the Copyright
      Royalty and Distribution Reform Act of 2004 to determine
      reasonable terms and rates of royalty payments under sections 114
      and 112 for the activities of eligible nonsubscription transmission
      services and new subscription services, to be effective for the period
      beginning on January 1, 2006, and ending on December 31, 2010.
      Such proceedings shall next be commenced in January 2009 to
      determine reasonable terms and rates of royalty payments, to
      become effective on January 1, 2011. Thereafter, such proceedings
      shall be repeated in each subsequent fifth calendar year.

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                                   S.A.-24
USCA Case #21-1244     Document #1981187      Filed: 01/12/2023   Page 84 of 84



37 C.F.R. § 380.7

§ 380.7 Definitions.

For purposes of this part, the following definitions apply:

                                    ****

Performance means each instance in which any portion of a sound
recording is publicly performed to a listener by means of a digital audio
transmission (e.g., the delivery of any portion of a single track from a
compact disc to one listener), but excludes the following:

   (1) A performance of a sound recording that does not require a license
   (e.g., a sound recording that is not subject to protection under title 17,
   United States Code);

   (2) A performance of a sound recording for which the service has
   previously obtained a license from the Copyright Owner of such sound
   recording; and

   (3) An incidental performance that both:

      (i) Makes no more than incidental use of sound recordings including,
      but not limited to, brief musical transitions in and out of
      commercials or program segments, brief performances during news,
      talk and sports programming, brief background performances
      during disk jockey announcements, brief performances during
      commercials of sixty seconds or less in duration, or brief
      performances during sporting or other public events; and

      (ii) Does not contain an entire sound recording, other than ambient
      music that is background at a public event, and does not feature a
      particular sound recording of more than thirty seconds (as in the
      case of a sound recording used as a theme song).

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                                  S.A.-25
